              Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 1 of 82




                                  No. 25-807

                 UNITED STATES COURT OF APPEALS
                     FOR THE NINTH CIRCUIT

    STATES OF WASHINGTON, ARIZONA, ILLINOIS, and OREGON,
                                                  Plaintiffs-Appellees,

CHERLY NORALES CASTILLO and ALICIA CHAVARRIA LOPEZ, on behalf
        of themselves as individuals and others similarly situated,
                                                  Plaintiffs-Appellees,
                                       v.
                 DONALD TRUMP, in his official capacity as
                    President of the United States, et al.,
                                                  Defendants-Appellants.

 On Appeal from the U.S. District Court for the Western District of Washington
                        Case No. 2:25-cv-00127-JCC
                    The Honorable John C. Coughenour

               PLAINTIFF STATES’ ANSWERING BRIEF

                           NICHOLAS W. BROWN
                        Attorney General of Washington
COLLEEN M. MELODY, WSBA 42275                  NOAH G. PURCELL, WSBA 43492
  Civil Rights Division Chief                   Solicitor General
LANE POLOZOLA, WSBA 50138                      CRISTINA SEPE, WSBA 53609
DANIEL J. JEON, WSBA 58087                     MARSHA CHIEN, WSBA 47020
ALYSON DIMMITT GNAM, WSBA 48143                 Deputy Solicitors General
 Assistant Attorneys General                   1125 Washington Street SE
800 Fifth Avenue, Suite 2000                   PO Box 40100
Seattle, WA 98104-3188                         Olympia, WA 98504-0100
206-464-7744                                   360-753-6200

                    (Additional Counsel on Signature Page)
                     Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 2 of 82




                                       TABLE OF CONTENTS

I.     INTRODUCTION ............................................................................................ 1

II.    COUNTERSTATEMENT OF THE ISSUES .................................................. 3

III.   STATEMENT OF THE CASE......................................................................... 3

       A. President Trump Issues the Citizenship Stripping Order Within
          Hours of Taking Office .............................................................................. 3

       B. Procedural History ...................................................................................... 4

             1. The district court enjoins the Citizenship Stripping Order .................. 4

             2. Other courts uniformly enjoin the Citizenship Stripping Order .......... 6

             3. Courts uniformly decline to stay the nationwide injunctions .............. 6

IV. STANDARD OF REVIEW .............................................................................. 7

V.     SUMMARY OF ARGUMENT ........................................................................ 8

VI. ARGUMENT .................................................................................................. 10

       A. The District Court Has Authority to Declare the Citizenship
          Stripping Order Unlawful and Enjoin Its Implementation ....................... 10

             1. Appellants’ challenges to the States’ standing are irrelevant ............ 10

             2. The States have standing to protect their pecuniary and
                sovereign interests .............................................................................. 11

             3. The States properly challenged the Citizenship Stripping Order
                under the Fourteenth Amendment’s Citizenship Clause ................... 21

       B. The States Are Likely to Succeed on the Merits ...................................... 25

             1. The Citizenship Stripping Order is plainly unconstitutional ............. 26




                                                         i
                     Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 3 of 82




             2. Appellants’ “allegiance,” “domicile,” and “consent” arguments
                conflict with the Fourteenth Amendment’s text and history, and
                have already been rejected by the Supreme Court ............................. 37

             3. The Citizenship Stripping Order independently violates the INA..... 49

       C. The Remaining Injunction Factors Decisively Favor the States .............. 52

       D. The District Court’s Nationwide Injunction Is Necessary to Provide
          Complete Relief ........................................................................................ 57

VII. CONCLUSION ............................................................................................... 63




                                                         ii
                      Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 4 of 82




                                     TABLE OF AUTHORITIES

                                                      Cases

Afroyim v. Rusk,
  387 U.S. 253 (1967) ...................................................................................... 49, 56

Ah How v. United States,
  193 U.S. 65 (1904) ...............................................................................................35

Alfred L. Snapp & Son, Inc. v. Puerto Rico, ex rel., Barez,
  458 U.S. 592 (1982) .............................................................................................21

Am. Beverage Ass’n v. City & County of San Francisco,
 916 F.3d 749 (9th Cir. 2019) ..................................................................................8

Bank of Am. Corp. v. Miami,
  581 U.S. 189 (2017) .............................................................................................24

Benny v. O’Brien,
  32 A. 696 (N.J. Sup. Ct. 1895) .............................................................................46

Biden v. Nebraska,
  600 U.S. 477 (2023) ..................................................................................... passim

Bostock v. Clayton County,
  590 U.S. 644 (2020) .............................................................................................50

California v. Azar,
 911 F.3d 558 (9th Cir. 2018) ................................................................................18

California v. Trump,
 963 F.3d 926 (9th Cir. 2020) ................................................................................21

CASA, Inc. v. Trump,
 No. 25-1153, 2025 WL 654902 (4th Cir. Feb. 28, 2025) ......................................7

CASA, Inc. v. Trump,
 No. 25-cv-00201, 2025 WL 545840 (D. Md. Feb. 18, 2025) ................................7




                                                         iii
                      Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 5 of 82




CASA, Inc. v. Trump,
 --- F. Supp. 3d ----, No. 25-cv-00201,
 2025 WL 408636 (D. Md. Feb. 2, 2025)................................................................6

Chin Bak Kan v. United States,
 186 U.S. 193 (1902) .............................................................................................46

City & County of San Francisco v. Trump,
  897 F.3d 1225 (9th Cir. 2018) ................................................................. 13, 15, 60

City & County of San Francisco v. U.S. Citizenship & Immigr. Servs.,
  944 F.3d 773 (9th Cir. 2019) ......................................................................... 12, 17

City & County of San Francisco v. U.S. Citizenship & Immigr. Servs.,
  981 F.3d 742 (9th Cir. 2020) ............................................................. 12, 15, 17, 53

Davis v. Packard,
 33 U.S. 312 (1834) ...............................................................................................21

Dep’t of Com. v. New York,
 588 U.S. 752 (2019) .......................................................................... 11, 12, 15, 17

Dep’t of Homeland Sec. v. Regents of the Univ. of Cal.,
 591 U.S. 1 (2020) .................................................................................................21

Doe #1 v. Trump,
 957 F.3d 1050 (9th Cir. 2020) ........................................................... 57, 58, 59, 63

Doe v. Trump,
 --- F. Supp. 3d ----, Nos. 25-cv-10135, 25-cv-10139,
 2025 WL 485070 (D. Mass. Feb. 13, 2025) .................................................... 6, 19

Dred Scott v. Sandford,
 60 U.S. 393 (1857) .......................................................................................... 1, 30

E. Bay Sanctuary Covenant v. Biden,
  102 F.4th 996 (9th Cir. 2024) ...............................................................................16

E. Bay Sanctuary Covenant v. Biden,
  993 F.3d 640 (9th Cir. 2021) ........................................................................ passim



                                                         iv
                      Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 6 of 82




E. Bay Sanctuary Covenant v. Trump,
  932 F.3d 742 (9th Cir. 2018) ........................................................................... 6, 58

Elk v. Wilkins,
  112 U.S. 94 (1884) ........................................................................................ 39, 40

Fedorenko v. United States,
  449 U.S. 490 (1981) .............................................................................................55

Gee v. United States,
 49 F. 146 (9th Cir. 1892) ......................................................................................35

George v. McDonough,
 596 U.S. 740 (2022) .............................................................................................50

Haaland v. Brackeen,
 599 U.S. 255 (2023) ...................................................................................... 22, 23

Hecox v. Little,
 104 F.4th 1061 (9th Cir. 2024) ........................................................................ 7, 58

HIAS, Inc. v. Trump,
 985 F.3d 309 (4th Cir. 2021) ................................................................................59

Hirabayashi v. United States,
  320 U.S. 81 (1943) ...............................................................................................34

Horne v. Flores,
 557 U.S. 433 (2009) .............................................................................................10

Idaho v. Coeur d’Alene Tribe,
  794 F.3d 1039 (9th Cir. 2015) ..............................................................................54

Inglis v. Sailors’ Snug Harbor,
  28 U.S. (3 Pet.) 99 (1830) ....................................................................................39

INS v. Legalization Assistance Project of L.A. Cnty. Fed’n of Labor,
  510 U.S. 1301 (1993) ...........................................................................................56

INS v. Rios-Pineda,
  471 U.S. 444 (1985) .............................................................................................34


                                                          v
                     Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 7 of 82




J.D. v. Azar,
  925 F.3d 1291 (D.C. Cir. 2019) ...........................................................................62

Kawakita v. United States,
 343 U.S. 717 (1952) .............................................................................................34

Kowalski v. Tesmer,
 543 U.S. 125 (2004) ...................................................................................... 23, 24

Kwock Jan Fat v. White,
 253 U.S. 454 (1920) .............................................................................................46

Labrador v. Poe ex rel. Poe,
  144 S. Ct. 921 (2024) .................................................................................... 60, 61

Lamar, Archer & Cofrin, LLP v. Appling,
  584 U.S. 709 (2018) .............................................................................................50

League of United Latin Am. Citizens v. Regan,
  996 F.3d 673 (9th Cir. 2021) ................................................................................50

Ledbetter v. Baldwin,
  479 U.S. 1309 (1986) .................................................................................... 53, 54

Lexmark Int’l, Inc. v. Static Control Components, Inc.,
  572 U.S. 118 (2014) .............................................................................................24

Lujan v. Defs. of Wildlife,
  504 U.S. 555 (1992) .............................................................................................18

Lynch v. Clarke,
  1 Sand. Ch. 583 (N.Y. Ch. 1844) .................................................................. 28, 45

Maine v. Taylor,
 477 U.S. 131 (1986) .............................................................................................21

McBurnie v. RAC Acceptance E., LLC,
 95 F.4th 1188 (9th Cir. 2024) ...............................................................................61

McCreery v. Somerville,
 22 U.S. (9 Wheat) 354 (1824) ..............................................................................29


                                                         vi
                     Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 8 of 82




McGirt v. Oklahoma,
 591 U.S. 894 (2020) .............................................................................................20

MCI Telecomms. Corp. v. Am. Tel. & Tel. Co.,
 512 U.S. 218 (1994) .............................................................................................52

Missouri v. Trump,
 128 F.4th 979 (8th Cir. 2025) ...............................................................................59

Morissette v. United States,
 342 U.S. 246 (1952) .............................................................................................51

Morrison v. California,
 291 U.S. 82 (1934) ...............................................................................................34

Murray v. Schooner Charming Betsy,
 6 U.S. (2 Cranch) 64 (1804) .................................................................................28

N.H. Indonesian Cmty. Support v. Trump,
  --- F. Supp. 3d ----, No. 25-cv-00038,
  2025 WL 457609 (D.N.H. Feb. 11, 2025) .............................................................6

Nebraska v. Su,
 121 F.4th 1 (9th Cir. 2024) ...................................................................................16

New Jersey v. Trump,
 --- F.4th ----, No. 25-1170,
 2025 WL 759612 (1st Cir. March 11, 2025) ............................................. 7, 16, 17

New Jersey v. Trump,
 No. 25-cv-10139, 2025 WL 617583 (D. Mass. Feb. 26, 2025) .............................7

NFIB v. Sebelius,
 567 U.S. 519 (2012) .............................................................................................15

Nishikawa v. Dulles,
  356 U.S. 129 (1958) .............................................................................................34

Ohio ex rel. Celebrezze v. U.S. Dep’t of Transp.,
 766 F.2d 228 (6th Cir. 1985) ................................................................................20



                                                        vii
                      Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 9 of 82




Pennsylvania v. New Jersey,
  426 U.S. 660 (1976) .............................................................................................17

Perkins v. Elg,
  307 U.S. 325 (1939) .............................................................................................34

Plyler v. Doe,
  457 U.S. 202 (1982) .............................................................................................47

Regan v. King,
  134 F.2d 413 (9th Cir. 1943) ................................................................................35

Regan v. King,
  319 U.S. 753 (1943) .............................................................................................35

Regan v. King,
  49 F. Supp. 222 (N.D. Cal. 1942).........................................................................35

Rice v. Olson,
  324 U.S. 786 (1945) .............................................................................................21

Schooner Exch. v. McFaddon,
  11 U.S. (7 Cranch) 116 (1812) ...................................................................... 20, 33

Slaughter-House Cases,
  83 U.S. 36 (1872) .................................................................................................39

South Carolina v. Katzenbach,
  383 U.S. 301 (1966) .............................................................................................22

South Dakota v. Dole,
  483 U.S. 203 (1987) .............................................................................................22

Texas v. Florida,
  306 U.S. 398 (1939) .............................................................................................47

Texas v. United States,
  787 F.3d 733 (5th Cir. 2015) ................................................................................20

The Venus,
  12 U.S. (8 Cranch) 253 (1814) .............................................................................47


                                                         viii
                     Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 10 of 82




Trump v. Int’l Refugee Assistance Project,
  582 U.S. 571 (2017) ...................................................................................... 58, 59

United States ex rel. Hintopoulos v. Shaughnessy,
 353 U.S. 72 (1957) ...............................................................................................34

United States v. Rice,
 17 U.S. (4 Wheat.) 246 (1819) .............................................................................32

United States v. Texas,
 143 S. Ct. 51 (2022) ...................................................................................... 61, 62

United States v. Texas,
 599 U.S. 670 (2023) ................................................................................ 10, 15, 16

United States v. Wong Kim Ark,
 169 U.S. 649 (1898) ..................................................................................... passim

Vance v. Terrazas,
  444 U.S. 252 (1980) .............................................................................................34

Warth v. Seldin,
 422 U.S. 490 (1975) ................................................................................ 23, 24, 25

Washington v. Trump,
 847 F.3d 1151 (9th Cir. 2017) ..............................................................................22

Weedin v. Chin Bow,
 274 U.S. 657 (1927) .............................................................................................34

Whole Woman’s Health v. Hellerstedt,
 579 U.S. 582 (2016) .............................................................................................25

Wyoming ex rel. Crank v. United States,
 539 F.3d 1236 (10th Cir. 2008) ............................................................................20




                                                         ix
                      Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 11 of 82




                                          Constitutional Provisions

U.S. Const. art. I, §§ 1-3 ..........................................................................................28

U.S. Const. art. IV, § 2 .............................................................................................28

U.S. Const. amend. XIV, § 1 ........................................................................ 1, 18, 26

Ariz. Const. art. II, § 13 ...........................................................................................19

Ariz. Const. art. II, § 26 ...........................................................................................19

Ariz. Const. art. V, § 2 .............................................................................................19

Ariz. Const. art. VII, § 2 ..........................................................................................19

Ill. Const. art. III, § 1................................................................................................19

Ill. Const. art. I, § 22 ................................................................................................19

Ill. Const. art. I, § 24 ................................................................................................19

Ill. Const. art. V, § 3 .................................................................................................19

Or. Const. art. I, § 20................................................................................................19

Or. Const. art. II, § 2 ................................................................................................19

Wash. Const. art. I, § 12...........................................................................................19

Wash. Const. art. I, § 24...........................................................................................19

Wash. Const. art. VI, § 1 ..........................................................................................19

                                                       Statutes

Civil Rights Act of 1866 § 1, ch. 31, § 1, 14 Stat. 27 ..............................................41

8 U.S.C. § 1401 ........................................................................................................51

8 U.S.C. § 1401(a) .............................................................................................. 3, 50



                                                            x
                     Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 12 of 82




8 U.S.C. § 1401(b) ............................................................................................ 27, 41

8 U.S.C. § 1611(a) ...................................................................................................13

8 U.S.C. § 1611(c)(1)(B) .........................................................................................13

42 U.S.C. § 1396b(v) ...............................................................................................13

705 Ill. Comp. Stat. 305/2(a) ...................................................................................19

Ariz. Rev. Stat. § 21-201(1) .....................................................................................19

Or. Rev. Stat. Ann. § 10.030(2) ...............................................................................19

Or. Rev. Stat. Ann. § 181A.490 ...............................................................................19

Or. Rev. Stat. Ann. § 181A.520 ...............................................................................19

Or. Rev. Stat. Ann. § 181A.530 ...............................................................................19

Wash. Rev. Code § 2.36.070....................................................................................19

                                                   Regulations

42 C.F.R. § 435.406 ................................................................................................. 13

                                               Other Authorities

H.R. Rep. No. 82-1365 (1952), as reprinted in 1952 U.S.C.C.A.N. 1653 .............51

Citizenship of Children Born in the United States of Alien Parents,
  10 Op. Att’y Gen. 328 (1862) ..............................................................................29

Citizenship Reform Act of 1997 and Voter Eligibility Verification
  Act: Hearing Before the Subcommittee on Immigration and Claims of the
  House Committee on the Judiciary,
  105th Cong., 1st Sess. (June 25, 1997) ................................................................36

Clement L. Bouvé,
  A Treatise on the Laws Governing the Exclusion and Expulsion of Aliens in
  the United States 340 (1912) ................................................................................47



                                                          xi
                    Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 13 of 82




Cong. Globe, 39th Cong., 1st Sess. (1866) ................................................. 42, 43, 46

Gabriel J. Chin & Paul Finkelman,
 Birthright Citizenship, Slave Trade Legislation, and the Origins of Federal
 Immigration Regulation,
 54 U.C. Davis L. Rev. 2215 (2021)......................................................................48

Garrett Epps,
 The Citizenship Clause: A “Legislative History,”
 60 Am. U. L. Rev. 331 (2010)....................................................................... 30, 42

Gerald L. Neuman,
 Back to Dred Scott?,
 24 San Diego L. Rev. 485 (1987) .........................................................................49

James C. Ho,
  Birthright Citizenship, The Fourteenth Amendment, and State Authority,
  42 U. Rich. L. Rev. 969 (2008) ............................................................................30

James C. Ho,
  Defining “American” Birthright Citizenship and the Original
  Understanding of the 14th Amendment,
  9 Green Bag 367 (2006) .......................................................................... 28, 30, 39

Matthew Ing,
 Birthright Citizenship, Illegal Aliens, and the Original Meaning of the
 Citizenship Clause,
 45 Akron L. Rev. 719 (2012) ........................................................................ 28, 42

Legis. Denying Citizenship at Birth to Certain Children Born in the United
  States,
  19 Op. O.L.C. 340 (1995).................................................................. 28, 36, 48, 49

Michael D. Ramsey,
 Originalism and Birthright Citizenship,
 109 Geo. L.J. 405 (2020) .............................................................................. passim

Frederick Van Dyne,
  Citizenship of the United States (1904) ................................................................ 29




                                                      xii
                    Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 14 of 82




Noah Webster,
 An American Dictionary of the English Language (1865)................................... 27

Protecting the Meaning and Value of American Citizenship,
  Exec. Order No. 14,160, 90 Fed. Reg. 8449 (Jan. 20, 2025) ................ 3, 4, 14, 25

To Revise and Codify the Nationality Laws of United States into a
  Comprehensive Nationality Code: Hearings Before the Comm. on Immigr.
  & Naturalization on H.R. 6127 Superseded by H.R. 9980,
  76th Cong., 1st Sess. (1940) .................................................................................51




                                                       xiii
               Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 15 of 82




                             I.     INTRODUCTION

      The Fourteenth Amendment’s Citizenship Clause emerged out of one of our

Nation’s darkest chapters and embodies one of its most solemn promises. It was

adopted following the Civil War to overturn the infamous holding in

Dred Scott v. Sandford, 60 U.S. 393, 403 (1857), which denied citizenship to an

entire class of persons based on their identity as “descendants of . . . slaves.” The

Citizenship Clause repudiated Dred Scott and reaffirmed the common law principle

of jus soli, stating that “[a]ll persons born or naturalized in the United States, and

subject to the jurisdiction thereof, are citizens of the United States and of the State

wherein they reside.” U.S. Const. amend. XIV, § 1. Its operation is automatic and

its scope broad. It provides our Nation a bright-line rule under which citizenship of

those born on American soil cannot be conditioned on the citizenship, allegiance,

domicile, immigration status, or nationality of one’s parents. And for well more than

a century, the Supreme Court, Congress, and the Executive Branch have

continuously protected this cornerstone promise of birthright citizenship.

      President Trump now seeks to impose a modern version of Dred Scott. His

Executive Order of January 20, 2025—the Citizenship Stripping Order—declares

that the Fourteenth Amendment does not confer citizenship to children born to

parents who are undocumented or who have a lawful but temporary status, and it

directs federal agencies to deprive those individuals of their rights. But nothing in


                                          1
               Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 16 of 82




the Constitution grants the President, federal agencies, or anyone else authority to

impose conditions on the grant of citizenship to individuals born in the United States.

      This appeal therefore presents a straightforward application of settled law to

an undisputed factual record. As the district court held, in consensus with every other

federal court to review it, the Citizenship Stripping Order is flatly contrary to the

Fourteenth Amendment’s text and history, Supreme Court precedent, longstanding

Executive Branch interpretation, and the Immigration and Nationality Act (INA).

The district court also correctly recognized the grave harms the Order will cause to

the States and their public agencies, public programs, public fiscs, and residents, and

fashioned an appropriate injunction to remedy those harms: the nationwide

injunction that preserves the longstanding status quo and provides the States with

complete relief while the case proceeds.

      The district court did not abuse its discretion. The Order is clearly illegal, the

States have sovereign and pecuniary standing to challenge the Order under settled

precedent, and they have overwhelmingly demonstrated entitlement to a nationwide

preliminary injunction. An unworkable state-by-state patchwork rule of birthright

citizenship would inflict the same harms that originally led the States to file suit.

This Court should join the district court in rejecting Appellants’ fringe legal

arguments and affirm the preliminary injunction in full.




                                           2
                  Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 17 of 82




                  II.   COUNTERSTATEMENT OF THE ISSUES

       1.     Whether the district court properly exercised its discretion in granting

a preliminary injunction where the States demonstrated that they are likely to

succeed on the merits of their claims that the Citizenship Stripping Order violates

the Fourteenth Amendment and 8 U.S.C. § 1401(a), presented unrebutted evidence

of irreparable harm, and established that the equities and public interest strongly

favored entry of the injunction.

       2.     Whether the district court properly exercised its discretion in fashioning

the injunction to apply nationwide because doing so was necessary to provide the

States with complete relief, where a geographically checkered rule of birthright

citizenship is unworkable and would impose on the States the same harms the district

court enjoined.

                         III.   STATEMENT OF THE CASE

A.     President Trump Issues the Citizenship Stripping Order Within Hours
       of Taking Office

       On January 20, 2025, President Trump issued an Executive Order entitled

“Protecting the Meaning and Value of American Citizenship.” Exec. Order

No. 14,160, 90 Fed. Reg. 8449 (Jan. 20, 2025); 1-SER-66-69. Section 1 of the Order

declares that U.S. citizenship “does not automatically extend to persons born in the

United States” if, at the time of birth, the child’s father is not a U.S. citizen or lawful

permanent resident and their mother’s presence in the United States is (1) unlawful

                                            3
                  Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 18 of 82




or (2) lawful but temporary. 90 Fed. Reg. at 8449. Section 2 states that it is the

“policy of the United States” that no federal department or agency shall issue

documents recognizing such persons as U.S. citizens or accept documents issued by

State governments recognizing such persons as U.S. citizens if they are born after

February 19, 2025. Id. Section 3 directs the Secretary of State, Attorney General,

Secretary of Homeland Security, and Commissioner of Social Security to “take all

appropriate measures to ensure that the regulations and policies of their respective

departments and agencies are consistent with this order” and mandates that officials

cannot “act, or forbear from acting, in any manner inconsistent with this order.”

Id. at 8449-50.

B.    Procedural History

      1.     The district court enjoins the Citizenship Stripping Order

      The day after President Trump signed the Citizenship Stripping Order,

Washington, Arizona, Illinois, and Oregon (the States) filed a complaint and motion

for a temporary restraining order. Dkts. 1, 10.1 The district court granted the TRO.

Dkt. 43. Soon thereafter, a group of expectant mothers filed a putative class action.

The district court consolidated the cases, Dkt. 56, and the States and Individual

Plaintiffs filed a consolidated complaint, ER-16-134. Each group of plaintiffs moved



      1
       Docket citations are to the district court docket, Case No. 25-cv-127, unless
otherwise noted.

                                            4
               Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 19 of 82




for a preliminary injunction. 1-SER-24-60; Dkt. 74.

      In seeking injunctive relief, the States detailed the sovereign harms they

would suffer by having thousands of their residents deemed non-citizens, and they

presented unrebutted evidence that, beginning immediately, the Order would cause

the States to lose millions of dollars in federal funding for programs the States

administer, such as Medicaid, the Children’s Health Insurance Program (CHIP),

Title IV-E foster care, and the Social Security Administration (SSA) Enumeration at

Birth program. 1-SER-32-38, 44-53, 107-180, 254-280, 292-299; 2-SER-302-311.

They also presented unrebutted evidence of the extensive and grievous harms the

Order would inflict on the States’ residents. 1-SER-107-112, 181-253.

      The district court enjoined Appellants from enforcing or implementing the

Citizenship Stripping Order, holding the States were likely to prevail on their

constitutional claim because “[c]itizenship by birth is an unequivocal Constitutional

right” that “[t]he President cannot change, limit, or qualify . . . via an executive

order.” ER-15. It concluded that the Order also likely violates the INA. ER-8.

The district court also held that the States had standing and would suffer “irreparable

economic harm in the absence of preliminary relief,” and that the balance of the

equities and public interest strongly weighed in favor of entering a preliminary

injunction because “the rule of law is secured by a strong public interest that the laws

‘enacted by their representatives are not imperiled by executive fiat.’” ER-12-13


                                           5
                Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 20 of 82




(quoting E. Bay Sanctuary Covenant v. Trump, 932 F.3d 742, 779 (9th Cir. 2018)).

Finally, the district court recognized that while “[i]t is axiomatic that injunctive relief

must be narrowly tailored[,]” a nationwide injunction was necessary to provide the

States with complete relief because “a geographically limited injunction would be

ineffective” to relieve the States’ financial and administrative burdens. ER-14.

       2.     Other courts uniformly enjoin the Citizenship Stripping Order

       Every court to consider the Order has broadly enjoined its implementation and

enforcement. See Doe v. Trump, --- F. Supp. 3d ----, Nos. 25-cv-10135,

25-cv-10139, 2025 WL 485070, at *14-16 (D. Mass. Feb. 13, 2025) (issuing

nationwide injunction in cases brought by state plaintiffs and private plaintiffs),

appeal filed, No. 25-1170 (1st Cir.); CASA, Inc. v. Trump, --- F. Supp. 3d ----,

No. 25-cv-00201, 2025 WL 408636, at *16-17 (D. Md. Feb. 2, 2025) (issuing

nationwide injunction in case brought by organizational plaintiffs with nationwide

membership), appeal filed, No. 25-1153 (4th Cir.); N.H. Indonesian Cmty. Support

v. Trump, --- F. Supp. 3d ----, No. 25-cv-00038, 2025 WL 457609, at *6 (D.N.H.

Feb. 11, 2025) (enjoining enforcement “in any manner with respect to the plaintiffs,

and with respect to any individual or entity in any other matter or instance within the

jurisdiction of this court”).

       3.     Courts uniformly decline to stay the nationwide injunctions

       Appellants appealed and sought a partial stay of the injunction from this



                                            6
                 Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 21 of 82




Court. A motions panel unanimously denied Appellants’ motion. No. 25-807,

Dkt. 37.1. The federal government also sought to partially stay the nationwide

injunctions issued in other cases, raising the same or similar arguments regarding

standing and scope of relief presented in their stay motion to this Court. Every

district   and     circuit     court   maintained    the   nationwide      injunctions.

See New Jersey v. Trump, --- F.4th ----, No. 25-117, 2025 WL 759612 (1st Cir.

March 11, 2025); CASA, Inc. v. Trump, No. 25-1153, 2025 WL 654902 (4th Cir.

Feb. 28, 2025); New Jersey v. Trump, No. 25-cv-10139, 2025 WL 617583 (D. Mass.

Feb. 26, 2025); CASA, Inc. v. Trump, No. 25-cv-00201, 2025 WL 545840 (D. Md.

Feb. 18, 2025).

       On March 13, 2025, following stay denials by this Court, and the First and

Fourth Circuits, Appellants sought a partial stay of each nationwide injunction from

the Supreme Court. The Supreme Court called for a response, which the States filed

on the same day as this Answering Brief. See Resp. to App. for Partial Stay, Trump v.

Washington, No. 24A885 (Apr. 4, 2025).

                             IV.   STANDARD OF REVIEW

       A district court’s grant of a preliminary injunction, including the injunction’s

scope, is reviewed for abuse of discretion. Hecox v. Little, 104 F.4th 1061, 1073 (9th

Cir. 2024). “A district court abuses its discretion if it rests its decision ‘on an

erroneous legal standard or on clearly erroneous factual findings.’” Am. Beverage


                                           7
               Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 22 of 82




Ass’n v. City & County of San Francisco, 916 F.3d 749, 754 (9th Cir. 2019) (en

banc) (citation omitted).

                       V.    SUMMARY OF ARGUMENT

      The Citizenship Stripping Order flies in the face of constitutional text,

historical understanding, and settled precedent. In issuing a preliminary injunction,

the district court based its conclusions on standing, the injunction factors, and the

propriety of nationwide relief on established precedent and an unrebutted record.

The district court properly entered a nationwide injunction to prevent the Order from

triggering a cascade of irreparable and immediate harms. This Court should affirm.

      First, Appellants’ halfhearted challenges to the States’ standing are both

irrelevant and meritless. They are irrelevant because the States’ co-plaintiffs, the

Individual Plaintiffs, undisputedly have standing and seek declaratory and injunctive

relief on the same claims. Even if considered, Appellants’ arguments are meritless

because the overwhelming record is that the Citizenship Stripping Order will cause

the States to suffer sovereign harms, forfeit unrecoverable funds from established

federal contracts and grant programs, and be required to invest millions to abruptly

change major healthcare and services programs that turn on citizenship. Under

governing precedent, the States plainly have standing to prevent these harms.

      Second, the Citizenship Stripping Order contravenes the Fourteenth

Amendment’s plain text and history, over a century of established precedent,


                                         8
               Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 23 of 82




longstanding Executive Branch interpretation, and the INA. Appellants’ invitations

to append “allegiance” and “domicile” conditions on the grant of birthright

citizenship lack any basis in the text or history of the Citizenship Clause, and

Appellants point to no case that has ever accepted their view of the Fourteenth

Amendment’s or the INA’s birthright citizenship guarantee. The district court

correctly concluded that the States are extremely likely to succeed on the merits.

      Third, the district court appropriately concluded that the remaining

preliminary injunction factors—irreparable harm, the equities, and the public

interest—all decisively favor the States. Absent an injunction, the States face

significant and irreparable harms. They will lose millions of dollars in federal funds

under existing contracts and grant programs, which they cannot recoup, and they

will suffer major harms to their sovereign interests. And, if the Citizenship Stripping

Order goes into effect, U.S.-born children who should be citizens will be born

undocumented, subject to removal or detention, and many left stateless—among

many other negative and long-term consequences.

      Fourth, the district court acted well within its discretion in enjoining the Order

nationwide. The district court did so to provide the States complete relief, the

touchstone measure of an injunction’s appropriate scope. Anything less would be

unworkable and inconsistent with the national rule of citizenship, which is necessary

to protect the States from sovereign and pecuniary harms as people inevitably travel


                                           9
               Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 24 of 82




and move. Nationwide relief under these circumstances is appropriate and consistent

with precedent.

                                VI.    ARGUMENT

A.    The District Court Has Authority to Declare the Citizenship Stripping
      Order Unlawful and Enjoin Its Implementation

      1.     Appellants’ challenges to the States’ standing are irrelevant

      As a threshold matter, Appellants’ challenges to the States’ standing are a

sideshow. See Opening Br. 10, 42-49. All agree that co-plaintiffs, the Individual

Plaintiffs, have standing to seek declaratory and injunctive relief on the Citizenship

Clause and INA claims at issue. For purposes of the preliminary injunction stage,

the clear standing of individuals is enough for the Court to proceed to the merits.

As the Supreme Court has held time and again, “[i]f at least one plaintiff has

standing, the suit may proceed.” Biden v. Nebraska, 600 U.S. 477, 489 (2023);

see Horne v. Flores, 557 U.S. 433, 446 (2009) (“Because the superintendent clearly

has standing to challenge the lower courts’ decisions, we need not consider whether

the Legislators also have standing to do so.”); United States v. Texas, 599 U.S. 670,

709 n.1 (2023) (Alito, J., dissenting) (“In a case with multiple plaintiffs, Article III

permits us to reach the merits if any plaintiff has standing.”).

      Appellants cannot bypass this rule by pointing to the nationwide scope of the

preliminary injunction. Doing so is merely an attempt to avoid the

abuse-of-discretion standard applicable to review of the injunction’s scope. But the

                                          10
               Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 25 of 82




issues are distinct: Once any plaintiff has standing for the claim and type of relief at

issue, the Court proceeds to the separate question of whether the district court abused

its discretion in granting an injunction that protects the States. As detailed below,

the States overwhelmingly demonstrated their entitlement to an injunction, and the

injunction’s scope is eminently reasonable given the record of direct pecuniary and

sovereign harms the States will suffer absent a nationwide injunction.

      2.     The States have standing to protect their pecuniary and sovereign
             interests

      Even if considered, Appellants’ standing arguments wither in the face of

precedent. The States have standing because they presented undisputed evidence that

the Citizenship Stripping Order will directly harm their legally protected pecuniary

and sovereign interests, causing injury that is actual or imminent, “fairly traceable”

to the Order, and redressable by an injunction. See Biden, 600 U.S. at 489;

Dep’t of Com. v. New York, 588 U.S. 752, 766 (2019). This is not a close question,

and multiple independent grounds support the States’ standing.

      a. The States have standing to protect their pecuniary interests because the

Order will defund and require substantial changes to existing public programs such

as Medicaid, the Children’s Health Insurance Program (CHIP), Title IV-E foster

care, and SSA’s Enumeration at Birth program. The district court correctly ruled in

the States’ favor on this ground, ER-5-6, and Appellants offer no persuasive

counterargument.

                                          11
               Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 26 of 82




      The Supreme Court’s recent decision in Biden v. Nebraska, 600 U.S.

at 488-91, confirms why standing exists here. Biden held that where the federal

government’s action causes a direct reduction in the number of individuals a state

entity serves—and therefore a loss of fees the state would otherwise receive under

an existing contract—the loss is unquestionably concrete and direct for purposes of

standing. Id. at 490-91. There, the loss was from the federal government’s

cancellation of student loans that a state entity earned fees for servicing. Id. at 490

(“This financial harm is an injury in fact directly traceable to the Secretary’s

plan . . . .”). And Biden merely reiterated the longstanding rule that state and local

government plaintiffs have standing when federal action triggers concrete state

funding losses. See New York, 588 U.S. at 767 (states had standing where inclusion

of citizenship question on the census would cause them to “lose out on federal funds

that are distributed on the basis of state population”); City & County of San

Francisco v. U.S. Citizenship & Immigr. Servs., 981 F.3d 742, 754 (9th Cir. 2020)

(states had standing based on reduction in federal payments due to decreased

enrollment in public benefits); City & County of San Francisco v. U.S. Citizenship

& Immigr. Servs., 944 F.3d 773, 787-88 (9th Cir. 2019) (same); City & County of

San Francisco v. Trump, 897 F.3d 1225, 1235 (9th Cir. 2018) (counties had standing

based on likely lost grant funds).

      The States have standing under this established precedent. The unrebutted


                                          12
               Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 27 of 82




record shows that thousands of babies born each year will be subject to the Order,

including more than 150,000 nationally and more than 1,100 per month in the

Plaintiff States alone. 1-SER-110-112, 122-146. Denied citizenship, they will

immediately become ineligible for federally backed healthcare coverage and social

service programs the States administer pursuant to federal law, including Medicaid,

CHIP, and Title IV-E foster care. ER-5-6; see 1-SER-151-158, 161-162, 164-168,

178-179, 259-260, 293-298; 2-SER-304-305. As a direct result, the States will lose

contracted reimbursements they would otherwise receive. ER-5-6; see, e.g.,

1-SER-155-158 (estimating likely loss to Washington of nearly $7 million per year,

if approximately 4,000 children become ineligible for Medicaid/CHIP);

1-SER-295-297 (detailing Oregon’s millions of lost Title IV-E dollars if children

made ineligible); 1-SER-261-263 (estimating Arizona’s expected loss of more than

$320 million in healthcare funding over the first 18 years of life for the first cohort

subject to the Order); see also 1-SER-164-168; 2-SER-306-309.

      Moreover, federal law requires the States to determine whether each resident

served by federal benefits is eligible. 1-SER-151, 153-158, 167-168, 259-260,

293-298; 2-SER-306-307, 309; see, e.g., 42 U.S.C. § 1396b(v); 8 U.S.C. §§ 1611(a),

(c)(1)(B); 42 C.F.R. § 435.406. The Order upends the current State systems that rely

on birth certificates, place of birth, or SSNs to determine eligibility, and the States

would be forced to create new systems to determine the citizenship of every child


                                          13
               Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 28 of 82




they serve to avoid violating federal law. This means an immediate scramble to

overhaul systems, update policies, and institute training—all within 30 days. 90 Fed.

Reg. 8449 (Order effective “after 30 days”); ER-5-6; see, e.g., 1-SER-154-156

(necessary system changes for Washington’s Healthcare Authority would require 7-

8 FTEs and take two to three years); 1-SER-262 (cost of implementing necessary

changes to Arizona’s Medicaid eligibility systems range from $2.3-4.4 million); see

also 1-SER-174-175, 257, 269-271, 277-278, 297-298; 2-SER-309-311.

      The States will also lose “administrative fees” they otherwise would receive

under SSA’s Enumeration at Birth program. Biden, 600 U.S. at 489-90. Pursuant to

existing contracts with SSA, the States’ vital statistics agencies collect newborn birth

data, format it, and transmit it to the SSA to facilitate the assignment of SSNs.

1-SER-172-174, 256-257, 270, 275-276. This is how nearly all SSNs are assigned,

1-SER-172-173, and SSA pays the States approximately $4-5 for each SSN, totaling

hundreds of thousands of dollars per year, 1-SER-173, 257, 270, 276. Under these

agreements, the loss of revenue will begin immediately if SSA ceases issuing SSNs

to children subject to the Order. 1-SER-173-174, 257, 270-271, 276-277

(Washington, Illinois, and Oregon each expect losses of between $7,230 to $38,129

per year due to decrease in SSNs assigned to newborns).

      These losses constitute the exact type of direct financial loss—a

going-forward reduction in “administrative fee[s]” and grant funds that the States


                                          14
               Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 29 of 82




“otherwise would have earned under [their] contract[s]”—that confers standing.

Biden, 600 U.S. at 489-90; New York, 588 U.S. at 767; see also NFIB v. Sebelius,

567 U.S. 519, 576-77 (2012) (Medicaid funding is “much in the nature of a

contract”) (cleaned up). Appellants bury Biden in a footnote and make no serious

effort to address it, Opening Br. 46 n.5, and they ignore entirely New York and this

Court’s precedent that has found standing under similar circumstances, see City &

County of San Francisco, 981 F.3d at 754; City & County of San Francisco,

897 F.3d at 1235. But ignoring law does not overcome it. The standing analysis is

open-and-shut in the States’ favor.

      Appellants cite a footnote in United States v. Texas, 599 U.S. at 680 n.3,

to argue that the States’ harms are too indirect. Opening Br. 45-46. But Texas offers

them no support. There, the Supreme Court held that the state plaintiffs’ increased

downstream costs to incarcerate and provide social services to non-citizens were not

redressable because the judiciary could not interfere in the exercise of Article II

prosecutorial discretion regarding whom to arrest and deport. Texas, 599 U.S. at

677-80. The Court did not disturb the district court’s conclusion that the states

suffered cognizable injuries, and no one “dispute[d] that even one dollar’s worth of

harm is traditionally enough to ‘qualify as concrete injur[y] under Article III.’” Id.

at 688 (Gorsuch, J., concurring) (citation omitted). Indeed, the Court stressed that its

holding was “narrow” and limited to redressability concerns stemming from


                                          15
                Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 30 of 82




prosecutorial discretion. Id. at 683-85. This Court has subsequently confirmed as

much. Nebraska v. Su, 121 F.4th 1, 13 n.5 (9th Cir. 2024). Here, nothing about the

Citizenship Stripping Order is remotely similar to the deference courts afford to the

Executive Branch’s arrest and prosecution decisions, and nothing about Texas

undercuts the record here that the States’ harms are direct and immediate, as was the

case in Biden. See New Jersey, 2025 WL 759612, at *4 (First Circuit’s rejection,

at the stay stage, of Appellants’ identical arguments based on Texas).

      Appellants’ other cases similarly do not help them. In Washington v. FDA,

unlike here, the Court recognized that Idaho’s asserted harm to its Medicaid system

“depend[ed] on an attenuated chain of healthcare decisions by independent actors”

that might indirectly affect state revenue through increased state expenditures.

108 F.4th 1163, 1174-75 (9th Cir. 2024); see also id. at 1170-71. And East Bay

Sanctuary Covenant v. Biden, 102 F.4th 996 (9th Cir. 2024), did not address Article

III standing at all. States tried to intervene but lacked a “significant protectable

interest” under Rule 24(a). Id. at 1001. Their supposed interest in minimizing

expenditures was deemed too “attenuated and speculative” because they were not at

issue in the litigation. Id. at 1000-02. Here, as the district court found and the record

makes clear, the States’ harms are direct and result solely from the federal

government’s denial of newborns’ citizenship—i.e., the single action of one actor.

ER-5-6.


                                           16
                Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 31 of 82




      Appellants’ limitless “self-inflicted injuries” argument is likewise unavailing.

See Opening Br. 48 (relying on Pennsylvania v. New Jersey, 426 U.S. 660 (1976)).

They suggest that the States could avoid harm by simply no longer providing the

services for which the States currently receive federal reimbursement. But precedent

is clear: The involuntary loss of federal funding under longstanding programs and

contracts, which the States would otherwise receive, is sufficient to support state

standing. See Biden, 600 U.S. at 489-90 (lost fees sufficient despite Missouri’s

choice to enter student loan market); New York, 588 U.S. at 766-67 (lost funding

sufficient without concern for whether states could withdraw from federally backed

funding programs); City & County of San Francisco, 981 F.3d at 754 (same); City

& County of San Francisco, 944 F.3d at 787-88 (same). Indeed, reasoning that the

States could simply agree to suffer more harm by withdrawing from massive federal-

state partnerships confirms that the States’ harm is not self-inflicted in any sense.

See New Jersey, 2025 WL 759612, at *5 (“After all, Biden did not deem the plaintiff-

state’s loss of the fees for servicing federal student loans to be the result of such a

choice by the plaintiff and thus not a basis for its Article III standing.”).

      The argument also fails under this Court’s precedent even if viewed as a

“choice” by the States to participate in certain programs. In California v. Azar, 911

F.3d 558, 573-74 (9th Cir. 2018), the Court rejected the theory that state plaintiffs’

economic injuries “will be self-inflicted because the states voluntarily chose to


                                           17
                Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 32 of 82




provide money for contraceptive care to its residents through state programs.” This

Court reviewed Pennsylvania v. New Jersey and reiterated that “[c]ourts regularly

entertain actions brought by states and municipalities that face economic injury, even

though those governmental entities theoretically could avoid the injury by enacting

new legislation.” Id. That rule makes sense, particularly here. The massive programs

at issue—Medicaid and CHIP for healthcare, Title IV-E for foster care services, and

SSA’s EAB program for the issuance of nearly all SSNs in the country—were not

invented by the States overnight to manufacture standing. The harms the States face

are not self-inflicted, and they are more than sufficient to confer standing.

      b. The States also have standing to protect their sovereign interests. The

Citizenship Clause directly governs states by granting both national citizenship to

those born in the United States, as well as citizenship in “the State wherein they

reside.” U.S. Const. amend. XIV, § 1. States unquestionably have a sovereign

interest in defending a constitutional provision that directly regulates state

citizenship. Lujan v. Defs. of Wildlife, 504 U.S. 555, 561-62 (1992). The States

enacted their own constitutions after passage of the Fourteenth Amendment,

granting rights based on state citizenship. See, e.g., Wash. Const. art. I, § 12

(prohibiting unequal privileges or immunities to “any citizen” or “class of citizens”);

id., § 24 (recognizing right of “individual citizen” to bear arms in self-defense);

Ariz. Const. art. II, § 13; id., § 26; Or. Const. art. I, § 20; Ill. Const. art. I, § 24;


                                           18
               Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 33 of 82




id., § 22.

       The States’ constitutions and many of their laws also rely on the settled

meaning of “United States citizen.” These include laws requiring citizenship to vote

in state elections, serve on state juries, hold local offices, and serve as a police or

corrections officers. See, e.g., Wash. Const. art. VI, § 1 (right to vote in state

elections); Ariz. Const. art. VII, § 2 (same); Or. Const. art. II, § 2 (same);

Ill. Const. art. III, § 1 (same); Wash. Rev. Code § 2.36.070 (juror qualifications);

Ariz. Rev. Stat. § 21-201(1) (same); Or. Rev. Stat. Ann. § 10.030(2) (same);

705 Ill. Comp. Stat. 305/2(a) (same); Ariz. Const. art. V, § 2 (eligibility to hold

certain state offices); Ill. Const. art. V, § 3 (same); Or. Rev. Stat. Ann. §§ 181A.490,

.520, .530 (qualifications for police, corrections, and probation officers); see also

Doe, 2025 WL 485070, at *5 n.7 (citing similar laws and explaining that “[s]tates

have general sovereign interests in which persons are their citizens” and “likely also

have sovereign interests in which persons are U.S. citizens”).

       As a result of the Citizenship Stripping Order, the meaning of “citizen” for

purposes of these laws is suddenly “endangered and rendered uncertain.”

Ohio ex rel. Celebrezze v. U.S. Dep’t of Transp., 766 F.2d 228, 233 (6th Cir. 1985).

If federal citizenship changes, the States will need to re-evaluate these state laws and

decide whether state voting rights, state jury service, and more should turn on some

new, state-specific definition of “citizenship.” See Texas v. United States, 787 F.3d


                                          19
                Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 34 of 82




733, 749 (5th Cir. 2015) (federal “pressure to change state law in some substantial

way,” including “laws [that] exist for the administration of a state program,”

constitutes a sovereign injury); Wyoming ex rel. Crank v. United States, 539 F.3d

1236, 1242 (10th Cir. 2008) (federal action gives rise to sovereign standing where it

“preempts state law” or “interferes with [a state’s] ability to enforce its legal code”).

      Finally, by proclaiming that thousands of the States’ residents are not “subject

to the jurisdiction” of the United States, the Order purports to render them non-

citizens of both the United States and the States. The federal government seems to

assume that this would have no impact on anything other than these individuals’

citizenship status, but it never explains why the impact would be so cabined, because

every other example of groups historically considered not “subject to the

jurisdiction” of the United States (diplomats, invading armies, Indian tribes) enjoys

some degree of immunity from state laws. See Schooner Exch. v. McFaddon, 11

U.S. (7 Cranch) 116, 138, 147 (1812); McGirt v. Oklahoma, 591 U.S. 894, 928

(2020) (“‘The policy of leaving Indians free from state jurisdiction and control is

deeply rooted in this Nation’s history.’”) (quoting Rice v. Olson, 324 U.S. 786, 789

(1945))); Davis v. Packard, 33 U.S. 312, 324 (1834). And any diminishment in their

authority to regulate their own residents would clearly harm the States in their

capacity as sovereigns. See, e.g., Alfred L. Snapp & Son, Inc. v. Puerto Rico, ex rel.,

Barez, 458 U.S. 592, 601 (1982) (recognizing state standing to protect “exercise of


                                           20
               Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 35 of 82




sovereign power over individuals and entities within the relevant jurisdiction” and

“power to create and enforce a legal code, both civil and criminal”); California v.

Trump, 963 F.3d 926, 936, 938-40 (9th Cir. 2020) (states had standing where federal

actions would injure “their sovereign interests in enforcing their environmental

laws”); see also Maine v. Taylor, 477 U.S. 131, 137 (1986).

      In light of these injuries, the States easily have sovereign standing here.

      3.     The States properly challenged the Citizenship Stripping Order
             under the Fourteenth Amendment’s Citizenship Clause

      Appellants next attempt to shield review of the Order by arguing that only

individuals should be permitted to bring Citizenship Clause claims. In doing so, they

cite no authority for a rule that the States may not litigate constitutional claims that

implicate individual rights. Opening Br. 42. And for good reason—their position

ignores a long history of state and local government challenges to Executive Branch

actions that harm states, even when those cases also may impact individual rights.

See, e.g., Dep’t of Homeland Sec. v. Regents of the Univ. of Cal., 591 U.S. 1, 13

(2020) (reaching merits of claim brought by “States” that rescission of immigration

benefit for state residents “infringed the equal protection guarantee of the Fifth

Amendment’s Due Process Clause”); South Dakota v. Dole, 483 U.S. 203, 205-06

(1987) (reaching merits of South Dakota’s claims “present[ing] questions of the

meaning of the Twenty-first Amendment” and its effect on state law “permit[ting]

persons 19 years of age or older to purchase beer”); South Carolina v. Katzenbach,

                                          21
               Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 36 of 82




383 U.S. 301, 325-37 (1966) (analyzing South Carolina’s claims under Section 1 of

the Fifteenth Amendment, which guarantees “[t]he right of citizens of the United

States to vote”); Washington v. Trump, 847 F.3d 1151, 1161, 1164-67 (9th Cir. 2017)

(states had standing for claim under Fifth Amendment, which “prohibits the

Government from depriving individuals of their ‘life, liberty, or property, without

due process of law’”) (citation omitted).

      Appellants instead attack a strawman: parens patriae standing. Opening

Br. 42. By now, the States are growing hoarse from explaining to Appellants that the

States do not rely on a parens patriae theory. See 1-SER-18, 35-38; 2-SER-393;

No. 25-807, Dkt. 31.1 at 15. And contrary to Appellants’ claim, nothing in

Haaland v. Brackeen, 599 U.S. 255 (2023), supports Appellants’ effort to relabel the

States’ lawsuit as a parens patriae challenge. In Brackeen, Texas brought an equal

protection challenge to the Indian Child Welfare Act. Id. at 294-95. While the Court

held that Texas could not “assert equal protection claims on behalf of its citizens” as

“parens patriae,” it separately considered whether Texas had “alleged costs” that

were “fairly traceable” to the challenged statute. Id. at 294-96. Although Texas failed

to make that showing, the financial-harm analysis would have been irrelevant if

states never have standing to bring constitutional equal protection claims against the

federal government, or if courts were always to construe such claims as parens




                                            22
               Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 37 of 82




patriae claims when brought. Brackeen confirms that the States’ unique harms are

an independent basis for standing.

      At best, Appellants’ cited cases give rise to a prudential objection to

standing—not a constitutional one. See Opening Br. 43-44 (citing Warth v. Seldin,

422 U.S. 490, 500 (1975) (barring claims based on “prudential rules of standing”

that are “apart from Art. III’s minimum requirements”), and Kowalski v. Tesmer,

543 U.S. 125, 128 (2004) (citing Warth’s discussion of “prudential limitations” on

standing)). As Appellants note, prudential standing has under certain circumstances

been used to bar plaintiffs from “rais[ing] the rights of others.” Kowalski, 543 U.S.

at 129. This judge-made rule, which even in its heyday was not “absolute” and often

“quite forgiving,” was designed to ensure that the plaintiff “has the appropriate

incentive to challenge (or not challenge) governmental action and to do so with the

necessary zeal and appropriate presentation.” Id. at 129-30.

      Prudential standing does not bar the States’ claims. Appellants do not dispute

the States’ ability to fully and ably prosecute this case. And they omit to mention the

Supreme Court’s subsequent criticism of the prudential standing doctrine. In

Lexmark International, Inc. v. Static Control Components, Inc., 572 U.S. 118 (2014),

the Court rejected the argument Appellants offer here, namely that prudential

standing should bar a plaintiff from bringing claims against an indirect competitor

because there were “more direct plaintiffs” who could bring the claims. Id. at 123


                                          23
                Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 38 of 82




(cleaned up). The Court placed the term “prudential standing” in quotation marks

and observed that the doctrine is in tension with “the principle that a federal court’s

obligation to hear and decide cases within its jurisdiction is virtually unflagging.”

Id. (cleaned up). Because the claimant’s “lost sales and damage to its business

reputation g[ave] it standing under Article III,” and because it likewise had an

available cause of action under the Lanham Act, prudential standing was no bar to

suit. Id. at 125; see also Bank of Am. Corp. v. City of Miami, 581 U.S. 189, 196

(2017) (“In Lexmark, we said that the label ‘prudential standing’ was misleading,

for the requirement at issue is in reality tied to a particular statute.”).

       And even if prudential standing remains an available theory, the plain terms

of Warth and Kowalski leave ample room for the States’ standing here. Both cases

preserve standing where a plaintiff seeks to vindicate its own “rights and interests”

without “rest[ing] . . . on the legal rights or interests of third parties.” Warth, 422

U.S. at 499; Kowalski, 543 U.S. at 129 (same). As explained, the Citizenship

Stripping Order unquestionably impacts rights and interests that belong exclusively

to the States: it renders uncertain who is a citizen of the States; upsets the rules for

state-run elections and jury systems; depletes millions of dollars from programs that

only states may operate pursuant to federal law; and changes the terms on which

federal officials will “accept documents issued by State, local, or other

governments.” 90 Fed. Reg. at 8449. This case presents no third-party standing


                                            24
               Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 39 of 82




problem because no one but the States would have standing to enforce these unique

and concrete state interests.

      At bottom, Appellants’ argument is that standing is absent if someone else

(such as the States’ residents) might also benefit from an injunction. But that has

never been the law. As long as a case or controversy is present such that “[t]he Art.

III judicial power exists,” any relief ordered by the Court “may benefit others

collaterally” without running afoul of any constitutional principle. Warth, 422 U.S.

at 499; see also Whole Woman’s Health v. Hellerstedt, 579 U.S. 582, 604 (2016)

(“Nothing prevents this Court from awarding facial relief as the appropriate remedy

for petitioners’ as-applied claims.”). The fact that the States’ residents will benefit

from the injunction below is not a bug in the system—it is a feature of State-initiated

litigation where the interests of the States and their residents coincide.

B.    The States Are Likely to Succeed on the Merits

      The district court was also correct that the States will likely succeed on the

merits because the Citizenship Stripping Order unlawfully attempts to rob

individuals of their constitutionally conferred and statutorily protected citizenship.

A wall of authority—the Fourteenth Amendment’s text and history, more than a

century of Supreme Court and Ninth Circuit precedent, Executive Branch official

positions, and the INA—makes clear that children born in the United States today

are citizens, just like children born in the United States have been for more than 150


                                          25
                Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 40 of 82




years. Appellants’ fringe arguments to the contrary conflict with settled law and

should be forcefully rejected.

      1.     The Citizenship Stripping Order is plainly unconstitutional

      a. Starting with the text, the Fourteenth Amendment’s Citizenship Clause

declares: “All persons born or naturalized in the United States, and subject to the

jurisdiction thereof, are citizens of the United States and of the State wherein they

reside.” U.S. Const. amend. XIV, § 1. This grant of citizenship contains no qualifiers

based on the citizenship, allegiance, domicile, immigration status, or country of

origin of one’s parents. The Citizenship Clause’s language is broad by design, and

it ensures that virtually every child born on United States soil is a citizen at birth.

      Resisting this simple conclusion, Appellants twist the phrase “subject to the

jurisdiction thereof” beyond all recognizable bounds. But as a matter of text, history,

and precedent, the group of U.S.-born individuals not subject to the jurisdiction of

the United States is both extraordinarily small and well defined. As the Supreme

Court has held, that phrase reflects a narrow and historically grounded exception for

groups recognized as exempt from the United States’ jurisdiction as a matter of fact,

comity, or practice. In particular, it excludes U.S.-born children who are born to

diplomats covered by diplomatic immunity and members of foreign armies at war




                                           26
               Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 41 of 82




against the United States.2 United States v. Wong Kim Ark, 169 U.S. 649, 704 (1898).

It has never been understood to exclude U.S.-born children based on their parents’

citizenship, immigration status, allegiance, or domicile.

      This understanding makes sense as a textual matter. The “idea of legislative

and executive jurisdiction—a nation’s jurisdiction—comes from pre-Amendment

international law and was also found in ordinary dictionaries of the time.”

Michael D. Ramsey, Originalism and Birthright Citizenship, 109 Geo. L.J. 405, 437

(2020). According to the 1865 edition of Webster’s dictionary, for example,

“jurisdiction as applied to nations meant the ‘[p]ower of governing or legislating,’

‘the power or right of exercising authority,’ the ‘limit within which power may be

exercised,’ or ‘extent of power or authority.’” Id. (quoting Noah Webster,

An American Dictionary of the English Language 732 (1865)). That definition

reflected common usage and widespread understanding that a nation’s jurisdiction

referred to its sovereign authority. Id. at 436-58; see also Matthew Ing, Birthright

Citizenship, Illegal Aliens, and the Original Meaning of the Citizenship Clause,

45 Akron L. Rev. 719, 729-30 (2012).




      2
         The original understanding of the Fourteenth Amendment was that children
born to certain Native American tribal members were not subject to the United
States’ jurisdiction at birth, as noted below, but such children have long been granted
U.S. citizenship at birth pursuant to federal statute. See 8 U.S.C. § 1401(b).

                                          27
                Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 42 of 82




       b. The history of the Citizenship Clause confirms its plain language. Birthright

citizenship stems from English common law’s principle of jus soli—citizenship

determined by birthplace. James C. Ho, Defining “American” Birthright Citizenship

and the Original Understanding of the 14th Amendment, 9 Green Bag 367, 369

(2006). While the Constitution referenced citizenship, including the concept of

citizenship by birth, prior to the Fourteenth Amendment’s adoption, see

U.S. Const. art. I, §§ 1-3; id. art. IV, § 2, its precise scope was left to the common

law, Ramsey, Originalism, supra, at 410-12. The prevailing view was that the United

States adopted “the English idea of subjectship by birth within the nation’s territory,”

or the principle of jus soli. Id. at 413.

       Under the pre-Fourteenth Amendment common law, “every person born

within the dominions and allegiance of the United States, whatever were the

situation of his parents, [was] a natural born citizen.”3 Id. at 415 (quoting Lynch v.

Clarke, 1 Sand. Ch. 583, 663 (N.Y. Ch. 1844)); see also Murray v. Schooner

Charming Betsy, 6 U.S. (2 Cranch) 64, 119-20 (1804) (presuming that all persons

born in the United States were citizens thereof); McCreery v. Somerville, 22 U.S. (9

Wheat) 354 (1824) (assuming that children born in Maryland to alien parents were



       3
        Enslaved individuals, “shamefully, not being considered persons at all for
many legal purposes, were ignored by the common law analysis.” See Legis.
Denying Citizenship at Birth to Certain Children Born in the United States, 19 Op.
O.L.C. 340, 342 n.7 (1995) (testimony from the U.S. Department of Justice, Office
of Legal Counsel, discussing the Citizenship Clause’s history).

                                            28
               Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 43 of 82




native-born U.S. citizens); Frederick Van Dyne, Citizenship of the United States 3-7

(1904) (surveying United States common law authorities and concluding that “[i]t is

beyond doubt” that prior to the Fourteenth Amendment’s adoption and the Civil

Rights Act of 1866, “all white persons, at least, born within the sovereignty of the

United States, whether children of citizens or foreigners, excepting only children of

ambassadors or public ministers of a foreign government, were native-born citizens

of the United States”); Citizenship of Children Born in the United States of Alien

Parents, 10 Op. Att’y Gen. 328 (1862) (Attorney General opinion concluding that a

child born in the United States of alien parents who have never been naturalized is,

by fact of birth, a native-born citizen of the United States). The recognized

exceptions to this broad rule reflected those not subject to the United States’

sovereign authority, including children of foreign diplomatic and foreign military

forces on United States soil and children born to certain Native American tribal

members who were born under the “dominion of their tribes,” which were

recognized as their own “national communities” not subject to the United States’

jurisdiction. See Ramsey, Originalism, supra, at 415-16, 442-44.

      The common law jus soli foundation was shaken when the Supreme Court

infamously declared that citizenship did not extend to free descendants of slaves—

in other words, that citizenship depended on one’s identity rather than one’s place

of birth. Dred Scott, 60 U.S. at 404-05. In response to Dred Scott and the Civil War,


                                         29
               Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 44 of 82




Congress and the States adopted the Fourteenth Amendment to “guarantee

citizenship to virtually everyone born in the United States,” with only the narrow

exceptions previously recognized for diplomats, invading armies, and Native

American tribal members not recognized to be subject to the United States’

jurisdiction. James C. Ho, Birthright Citizenship, The Fourteenth Amendment, and

State Authority, 42 U. Rich. L. Rev. 969, 971 (2008); see also Garrett Epps, The

Citizenship Clause: A “Legislative History,” 60 Am. U. L. Rev. 331, 352-59 (2010)

(detailing ratification debate); Ho, Defining “American” Birthright Citizenship,

supra, at 369-72 (detailing ratification debate and concluding that “[t]ext and history

confirm that the Citizenship Clause reaches all persons who are subject to U.S.

jurisdiction and laws, regardless of race or alienage”).

      c. The Fourteenth Amendment’s broad promise of birthright citizenship is

cemented by controlling U.S. Supreme Court precedent. More than 125 years ago,

Wong Kim Ark confirmed that the Citizenship Clause guarantees citizenship to

virtually all children born in the United States regardless of their parents’ identity,

citizenship, or immigration status. 169 U.S. at 704. In its decision, the Court

exhaustively canvassed the Fourteenth Amendment’s text and history, and relevant

law and authorities from before and after its passage. In doing so, it held that the

Citizenship Clause stood for “the fundamental rule of citizenship by birth within the

dominion of the United States, notwithstanding alienage of parents[.]” Id. at 688,


                                          30
               Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 45 of 82




692-93. Thus, Wong Kim Ark, a child born in San Francisco to Chinese parents who

could not themselves become U.S. citizens, was an American citizen. Id. at 704.

      A central tenet of the Court’s holding is its interpretation of the phrase

“subject to the jurisdiction thereof.” The Court was exceedingly clear about the

meaning of that phrase. The “real object” of including that language was “to exclude,

by the fewest and fittest words (besides children of members of the Indian tribes,

standing in a peculiar relation to the national government, unknown to the common

law), the two classes of cases . . . recognized [as] exceptions to the fundamental rule

of citizenship by birth within the country.” Id. at 682. Those classes are the ones

noted above: “children born of alien enemies in hostile occupation, and children of

diplomatic representatives of a foreign state[.]” Id. In addressing the Amendment’s

language, the Court explained that it “was not intended to impose any new

restrictions upon citizenship, or to prevent any persons from becoming citizens by

the fact of birth within the United States, who would thereby have become citizens

according to the law existing before its adoption.” Id. at 676.

      The Court’s interpretation of the Citizenship Clause is neither dicta nor

conclusory, and it confirms that the phrase “subject to the jurisdiction thereof” is a

narrowly limited exception, but not superfluous. The Court analyzed how, with

respect to each narrow exception, it had long been recognized that the United States’

jurisdiction—its exercise of sovereign authority—was limited as a matter of fact or


                                          31
               Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 46 of 82




as a matter of comity and practice. Id. at 682-83. It discussed United States v. Rice,

for example, to explain “the case of a suspension of the sovereignty of the United

States over part of their territory by reason of a hostile occupation”—that is, where

as a matter of fact the United States could not exercise jurisdiction over occupied

territory. Id. at 683 (citing 17 U.S. (4 Wheat.) 246 (1819)).

      In expounding upon the otherwise broad meaning of jurisdiction as sovereign

authority over all “persons within the territory,” the Court relied most heavily upon

Chief Justice Marshall’s opinion in Schooner Exchange. That case “covered the

whole question of what persons within the territory of the United States are subject

to the jurisdiction thereof[,]” other than invading armies and Native Americans. Id.

The Court started with the foundational principle that “[t]he jurisdiction of the nation

within its own territory is necessarily exclusive and absolute.” Id. at 683-84 (quoting

Schooner Exch., 11 U.S. at 136). While absolute, that exclusive territorial

jurisdiction contained recognized exceptions accepted by the Nation itself as a

sovereign entity. Id. Those established exceptions related to the presence of other

sovereigns and their representatives, such as their ambassadors, ministers, and armed

forces. Id. at 684-85 (citing Schooner Exch., 11 U.S. at 137-39).

      As the Court explained, no exception extended to aliens present in a non-

diplomatic capacity within the United States. “When private individuals of one

nation spread themselves through another as business or caprice may direct,” the


                                          32
                Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 47 of 82




Court recognized, “it would be obviously inconvenient and dangerous to society,

and would subject the laws to continual infraction, and the government to

degradation, if such individuals or merchants did not owe temporary and local

allegiance, and were not amenable to the jurisdiction of the country.” Id. at 685-86

(quoting Schooner Exch., 11 U.S. at 144). Thus, the Court accepted as an

“incontrovertible principle[]” that an alien’s presence “can never be construed to

grant to them an exemption from the jurisdiction of the country[.]” Id. at 686.

      With this broad understanding of jurisdiction established, the Court brought

the point back to the Citizenship Clause’s meaning: “The words ‘in the United

States, and subject to the jurisdiction thereof,’” must be understood “in the same

sense in which the like words had been used by Chief Justice Marshall in the

wellknown case of The Exchange[.]” Id. at 687. In other words, contrary to

Appellants’ and certain amici’s modern-day suggestion that the phrase refers only

to those whose parents have an “unqualified allegiance” or sufficiently permanent

“domicile,” Wong Kim Ark’s interpretation of the phrase “subject to the jurisdiction

thereof” is clear and binding. Virtually everyone who is born within the United

States is born subject to its jurisdiction.

      Wong Kim Ark is the authoritative interpretation of the Citizenship Clause’s

reach, but it is not the only example of the judiciary recognizing this sacrosanct

constitutional right. The Supreme Court, the Ninth Circuit, and other courts have


                                              33
               Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 48 of 82




repeatedly recognized that individuals born in this country are citizens subject to its

jurisdiction—without any additional conditions. See, e.g., INS v. Rios-Pineda, 471

U.S. 444, 446 (1985) (recognizing that a child of two undocumented immigrants

“was a citizen of this country” by virtue of being “born in the United States”);

Perkins v. Elg, 307 U.S. 325, 329 (1939) (“[A] child born here of alien parentage

becomes a citizen of the United States.”).4 Indeed, during World War II, this Court

relied on Wong Kim Ark and affirmed a district court’s rejection of an attempt to

strike from voter rolls 2,600 people of Japanese descent who were born in the United

States. Regan v. King, 49 F. Supp. 222, 223 (N.D. Cal. 1942), aff’d, 134 F.2d 413


      4
         Accord United States ex rel. Hintopoulos v. Shaughnessy, 353 U.S. 72, 73
(1957) (recognizing that a child born to parents who overstayed temporary lawful
stays was “of course, an American citizen by birth”); Vance v. Terrazas, 444 U.S.
252, 255 (1980) (“Appellee . . . was born in this country, the son of a Mexican
citizen. He thus acquired at birth both United States and Mexican citizenship.”);
INS v. Errico, 385 U.S. 214, 215 (1966) (explaining that children born in United
States to parents who procured entry to country by fraudulent means “acquired
United States citizenship at birth”); Nishikawa v. Dulles, 356 U.S. 129, 131 (1958)
(“Petitioner was born in Artesia, California, in 1916. By reason of that fact, he was
a citizen of the United States, and because of the citizenship of his parents, he was
also considered by Japan to be a citizen of that country.”); Kawakita v. United States,
343 U.S. 717, 720 (1952) (noting that petitioner was born in the United States to
Japanese citizen parents and “was thus a citizen of the United States by birth”);
Hirabayashi v. United States, 320 U.S. 81, 96 (1943) (noting that tens of thousands
of “persons of Japanese descent” living on Pacific coast “are citizens because born
in the United States,” even though “under many circumstances” they also were
citizens of Japan “by Japanese law”); Morrison v. California, 291 U.S. 82, 85 (1934)
(“A person of the Japanese race is a citizen of the United States if he was born within
the United States.”); Weedin v. Chin Bow, 274 U.S. 657, 670 (1927) (discussing
Wong Kim Ark and noting that a child born in the United States “was nevertheless,
under the language of the Fourteenth Amendment, a citizen of the United States by
virtue of the jus soli embodied in the amendment”); Ah How v. United States,
193 U.S. 65, 65 (1904) (stating petitioner offered evidence that he was born in the
United States “and therefore was a citizen”).

                                          34
               Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 49 of 82




(9th Cir. 1943), cert. denied, 319 U.S. 753 (1943). As the district court explained,

it was “unnecessary to discuss the arguments of counsel” challenging those

individuals’ citizenship because it was “settled” that a child born “within the United

States” is a U.S. citizen. Id. And even before Wong Kim Ark, this Court had held the

same. Gee v. United States, 49 F. 146, 148 (9th Cir. 1892) (Chinese exclusion laws

“are inapplicable to a person born in this country, and subject to the jurisdiction of

its government, even though his parents were not citizens, nor entitled to become

citizens”).

      d. The Executive Branch, too, has long accepted and firmly endorsed the

established understanding of the Citizenship Clause. When the U.S. Department of

Justice’s Office of Legal Counsel (OLC) was asked in 1995 and 1997 to assess the

constitutionality of legislation that would deny citizenship to children born to parents

who were not citizens or permanent resident aliens, OLC reviewed the Citizenship

Clause’s text, history, and precedent, and concluded that such legislation would be

“unquestionably” and “flatly” unconstitutional. Legis. Denying Citizenship, 19 Op.

O.L.C. at 341; Citizenship Reform Act of 1997 and Voter Eligibility Verification

Act: Hearing Before the Subcommittee on Immigration and Claims of the House

Committee on the Judiciary, 105th Cong., 1st Sess. 21 (June 25, 1997) (statement of

Dawn E. Johnson, Acting Assistant Attorney General, Office of Legal Counsel).




                                          35
                Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 50 of 82




      “Throughout this country’s history,” OLC explained, “the fundamental legal

principle governing citizenship has been that birth within the territorial limits of the

United States confers United States citizenship.” Legis. Denying Citizenship, 19 Op.

O.L.C. at 340. There was an historical aberration, of course. Dred Scott “sought to

modify the founders’ rule of citizenship,” and in response, “Congress and the States

adopted the Fourteenth Amendment in order to place the right to citizenship based

on birth within the jurisdiction of the United States beyond question.” Id. (emphasis

added). The phrase “subject to the jurisdiction thereof,” OLC detailed, “was meant

to reflect the existing common law exception for discrete sets of persons who were

deemed subject to a foreign sovereign and immune from U.S. laws,” such as “foreign

diplomats.” Id. at 342. OLC accordingly concluded that “[a]part from these

extremely limited exceptions, there can be no question that children born in the

United States of aliens are subject to the full jurisdiction of the United States.” Id.

      In light of this authority, the Citizenship Stripping Order is plainly

unconstitutional. The individuals it targets are “subject to the jurisdiction” of the

United States just like virtually every other person born in the United States, and

they cannot be deprived of their citizenship through an Executive Order.




                                           36
               Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 51 of 82




      2.     Appellants’ “allegiance,” “domicile,” and “consent” arguments
             conflict with the Fourteenth Amendment’s text and history, and
             have already been rejected by the Supreme Court

      Notwithstanding this mountain of authority, Appellants argue that the Courts,

Congress, and the Executive Branch have been laboring for more than a century

under an unknowing misapprehension about the true nature of the Fourteenth

Amendment.5 They are wrong as a matter of constitutional text and history, and their

arguments are foreclosed by Wong Kim Ark.

      a. Appellants’ boldest claim is that persons are born “subject to the

jurisdiction” of the United States only if they have “direct and immediate allegiance”

and a “requisite” and “primary allegiance” to the United States. Opening Br. 1, 9,

12-14, 17, 22-24, 29. But the Citizenship Clause makes no reference to allegiance,

and their argument conflicts squarely with Wong Kim Ark, which held that a person

born in the United States was a citizen at birth even though he and his parents were

“subjects of the Emperor of China.” 169 U.S. at 652. Indeed, the Court recognized

that to “exclude[] from citizenship the children born in the United States of citizens

or subjects of other countries, would be to deny citizenship to thousands of

persons . . . who have always been considered and treated as citizens of the United




      5
        Numerous amici press similar arguments, which fail for the same reasons.
See Br. of Iowa and 18 States at 9-19; Br. of Tennessee at 9-19; Br. of E. Meese at
3-16.

                                         37
                Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 52 of 82




States.” Id. at 694. This alone is sufficient to reject Appellants’ atextual “allegiance”

requirement.

      The problems with Appellants’ “allegiance” argument run even deeper

because they ignore how that term is used by the binding legal authorities that have

construed it. As Wong Kim Ark confirms, nearly everyone owes direct allegiance

and is subject to the Nation’s jurisdiction by virtue of their birth or presence in the

United States. As the Court explained, “[t]he fundamental principle of the common

law with regard to English nationality was birth within the allegiance—also called

‘ligealty,’ ‘obedience,’ ‘faith,’ or ‘power’—of the king. The principle embraced all

persons born within the king’s allegiance, and subject to his protection.” Id. at 655

(emphasis added). “Such allegiance and protection were mutual,” the Court

explained, “and were not restricted to natural-born subjects and naturalized subjects,

or to those who had taken an oath of allegiance; [they] were predicable of aliens in

amity, so long as they were within the kingdom.” Id.

      The Court traced this understanding from the common law of England to the

jus soli principle as adopted in U.S. common law and reflected in the Fourteenth

Amendment. Id. at 659-61 (“Allegiance is nothing more than the tie or duty of

obedience of a subject to the sovereign under whose protection he is; and allegiance

by birth is that which arises from being born within the dominions and under the

protection of a particular sovereign.”) (quoting Inglis v. Sailors’ Snug Harbor, 28


                                           38
                Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 53 of 82




U.S. (3 Pet.) 99, 155 (1830)); id. at 662-664 (collecting additional authorities).

Indeed, the Court drew a line from this common law understanding to the narrow

exclusions for those few categories of individuals who are not subject to the United

States’ jurisdiction at birth. Id. at 682-83. Thus, the district court got it exactly right

in explaining that “so long as a person is born within a territory, then allegiance to

that territory is a foregone conclusion.” ER-11.

       b. Appellants turn nonetheless to Elk v. Wilkins, 112 U.S. 94 (1884), the

Slaughter-House Cases, 83 U.S. 36 (1872), and a slew of nonbinding authorities to

try to read “allegiance” and “domicile” requirements into the Citizenship Clause.

Opening Br. 13-22. Their arguments rehash well-trodden and widely rejected bases

for attempting to adopt exclusionary interpretations of the Citizenship Clause. See

Ramsey, Originalism, supra, at 436-58; Ho, Defining “American” Birthright

Citizenship, supra, at 376-77. Indeed, they largely depend on ignoring the Court’s

majority opinion in Wong Kim Ark. See 169 U.S. at 678-82 (repudiating the dicta in

the Slaughter-House Cases that suggested a narrow view of the Citizenship Clause

and discussing how Elk v. Wilkins does not support denying citizenship to children

born to foreign parents on U.S. soil).

       Take Elk, which Appellants rely upon most heavily. That case recognized the

founding-era view that certain Native American tribal members were not subject to

the United States’ jurisdiction at birth, and addressed whether a Native American


                                            39
               Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 54 of 82




individual who was not born a U.S. citizen nonetheless obtained citizenship by virtue

of “sever[ing] his tribal relation to the Indian tribes, and fully and completely

surrender[ing] himself to the jurisdiction of the United States[.]” 112 U.S. at 95, 98-

99. To be sure, as Appellants note, Elk remarked that the phrase “subject to the

jurisdiction” “evident[ly]” meant “not merely subject in some respect or degree to

the jurisdiction of the United States, but completely subject to their political

jurisdiction, and owing them direct and immediate allegiance.” Id. at 102.

      But Appellants ignore the rest of the decision and how it aligns with

Wong Kim Ark. Just after making the statement Appellants cite, the Elk Court drew

an express comparison between individuals born to Native American tribes and “the

children born within the United States, of ambassadors or other public ministers of

foreign nations.” Id. This was because tribes were recognized as “distinct political

communities, with whom the United States might and habitually did deal, as they

thought fit, either through treaties made by the president and senate, or through acts

of congress in the ordinary forms of legislation.” Id. at 99; see also Ramsey,

Originalism, supra, at 441-44 (discussing common understanding that Native

Americans were not viewed as subject to the United States’ jurisdiction due to their

“degree of self-government and independence from U.S. interference in internal

tribal matters” and fact that many tribes were “as a practical matter, beyond U.S.

authority”).


                                          40
               Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 55 of 82




      Nor do we have to speculate on this question. The Court in Wong Kim Ark

expressly addressed the limited reach of Elk, clarifying any misconception about the

language Appellants rely upon. Wong Kim Ark, 169 U.S. at 682. The Court

concluded that Elk “concerned only members of the Indian tribes within the United

States, and had no tendency to deny citizenship to children born in the United States

of foreign parents . . . not in the diplomatic service of a foreign country.” Wong Kim

Ark, 169 U.S. at 682; accord Ramsey, Originalism, supra, at 419-20. Elk is

accordingly of no help to Appellants—particularly because the Citizenship Stripping

Order is unquestionably not about the status of Native American children, whose

citizenship is conferred separately by statute. 8 U.S.C. § 1401(b).

      Appellants next point to the Civil Rights Act of 1866, which provided that

“[a]ll persons born in the United States, and not subject to any foreign Power,

excluding Indians not taxed, are hereby declared to be citizens of the United States.”

Civil Rights Act of 1866 § 1, ch. 31, § 1, 14 Stat. 27, at 27; see Opening Br. 18-19.

Nothing about that Act supports Appellants’ reading of the Citizenship Clause. All

involved in its passage understood that the 1866 Act’s language included the

children of immigrants. See Ramsey, Originalism, supra, at 451-54; Epps, The

Citizenship Clause, supra, at 349, 350-52. In fact, when one senator asked whether

the original proposed language “would have the effect of naturalizing the children

of Chinese and Gypsies born in this country[,]” Senator Trumbull, the Act’s author,


                                         41
               Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 56 of 82




responded, “Undoubtedly.” Cong. Globe, 39th Cong., 1st Sess. 498.6 That was so

even though, at the time, Chinese immigrants could not become naturalized U.S.

citizens and “Gypsies” were, if present, likely present unlawfully. See Epps,

The Citizenship Clause, supra, at 350-52. Thus, insofar as this was a “blueprint” for

the Fourteenth Amendment’s Citizenship Clause, it shows that Appellants are

wrong.

      Were there any lingering question, Wong Kim Ark answered it when the Court

explained that “any possible doubt” regarding the 1866 Act’s scope “was removed”

with passage of the Fourteenth Amendment. 169 U.S. at 471-72. All involved in

passage of the Fourteenth Amendment understood that the Citizenship Clause

guaranteed citizenship to virtually all U.S.-born children regardless of the race,

citizenship, status, allegiance, or domicile of their parents. See Ramsey, Originalism,

supra, at 441-51; Epps, The Citizenship Clause, supra, at 350-62. For instance, in

one telling example, Senator Cowan argued against ratification because “[i]f the

mere fact of being born in the country confers that right,” of citizenship, then the



      6
        Appellants try to resist this history by citing an out-of-context statement from
Senator Trumbull that the Act’s purpose was to “make citizens of everybody born
in the United States who owe[d] allegiance to the United States.” Opening Br. 19.
The sentences immediately following the one they cite make clear that Senator
Trumbull was referring to the known exclusion for diplomats. Cong. Globe, 39th
Cong., 1st Sess. 572 (“We cannot make a citizen of the child of a foreign minister
who is temporarily residing here.”); see also Ing, Birthright Citizenship, Illegal
Aliens, and the Original Meaning of the Citizenship Clause, supra, at 757
(discussing Senator Trumbull’s allegiance comments in context).

                                          42
               Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 57 of 82




children of parents “who have a distinct, independent government of their own,”

“who owe [the state] no allegiance,” and who would “settle as trespassers” would

also be citizens. Cong. Globe, 39th Cong., 1st Sess. 2891; id. at 2890 (statement of

Sen. Cowan) (“Is the child of the Chinese immigrant in California a citizen? Is the

child of a Gypsy born in Pennsylvania a citizen? . . . . Have they any more rights

than a sojourner in the United States?”). All agreed that Senator Cowan properly

understood the Citizenship Clause’s broad scope, and the Senate adopted the broad

language to which he objected.7 See id. at 2891 (Senator Conness confirming that

the Citizenship Clause as proposed would provide citizenship to “children begotten

of Chinese parents in California”).

      Finally, Appellants’ “allegiance” argument would lead to absurd

consequences if accepted. Using a newborn’s quantum of allegiance as a test for

citizenship would appear to mean that no child born to dual citizens, non-citizens, or

lawfully present immigrants would be a citizen at birth. That is not and has never

been the law, and even the Citizenship Stripping Order is inconsistent with that view.



      7
         Appellants selectively quote another statement from Senator Trumbull, in
which he said, when discussing the phrase “Indians not taxed,” that “[Indians] are
not subject to our jurisdiction in the sense of owing allegiance solely to the United
States.” Cong. Globe, 39th Cong., 1st Sess. 2894; Opening Br. 19. The context of
his statement makes clear that he was explaining why Native American tribes, as
politically independent peoples not fully subject to the sovereign authority of the
United States, were understood not to be subject to the jurisdiction thereof. See
Cong. Globe, 39th Cong., 1st Sess. 2894; see also Ramsey, Originalism, supra, at
449-50.

                                         43
               Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 58 of 82




      c. Appellants’ attempt to read a requirement of “domicile” of one’s parents

into the Citizenship Clause also fails. The Fourteenth Amendment’s text does not

refer to domicile at all. That makes sense because it was ratified against the backdrop

of the common law, which recognized birthright citizenship for all with only the

narrow exceptions noted above. While Appellants cite authorities and cherry pick

language referring to domicile, they cite no binding case interpreting the Citizenship

Clause to support their argument, and none of their authorities holds that to be

subject to the United States’ jurisdiction, a person must be domiciled here.

See Opening Br. 18-20, 23-31.

      To be sure, Appellant cite the passing references to domicile in Wong Kim

Ark. Those reflect the stipulated facts of the case. 169 U.S. at 653. The Court’s

analysis in no way relied on a parental domicile requirement, and the full context

confirms as much. In the same passage Appellants cite, the Court reiterated that “[i]t

can hardly be denied that an alien is completely subject to the political jurisdiction

of the country in which he resides[.]” Id. at 693. And indeed, the Court stated that

being completely subject to the political jurisdiction of the Nation did not turn on

the nature of one’s domicile or intent to remain. “Independently of a residence with

intention to continue such residence; independently of any domiciliation;

independently of the taking of any oath of allegiance, or of renouncing any former

allegiance,” the Court said, “it is well known that by the public law an alien, or a


                                          44
                Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 59 of 82




stranger born, for so long a time as he continues within the dominions of a foreign

government, owes obedience to the laws of that government[.]” Id. at 693-94

(cleaned up). That is, without regard to “domiciliation,” such persons are subject to

the jurisdiction of the United States. Id.

      This aspect of Wong Kim Ark’s holding was consistent with the common law,

which did not impose a parental domicile requirement for birthright citizenship.

Indeed, the Court cited favorably the seminal case of Lynch v. Clarke,

1 Sand. Ch. 583, 638 (N.Y. Ch. 1844), in discussing the pre-ratification

understanding of birthright citizenship. Wong Kim Ark, 169 U.S. at 664. In Lynch,

the Chancery Court of New York held that a child “born in this state, of alien parents,

during their temporary sojourn” was a natural-born citizen. 1 Sand. Ch. at 583, 638,

673, 683. Lynch noted that the child’s parents “came here as an experiment, without

any settled intention of abandoning their native country, or of making the United

States their permanent abode.” Id. at 638. And after surveying numerous authorities,

the Court concluded that there was “no doubt but that [the U.S.-born child] was a

citizen of the United States[.]” Id. at 683.

      Nothing Appellants cite undercuts this conclusion. Appellants point to a bill

from 1874 that never passed, selective language from congressional hearings,8


      8
         For example, Senator Wilson’s “sojourner” comment that Appellants
reference was a single remark made without support to specific contemporary
authorities. The temporary nature of one’s presence was not an issue being debated.

                                             45
                Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 60 of 82




statements from a handful of commentators, and two passport denials from 1885.

See Opening Br. 25-28. They also cite a New Jersey case, Benny v. O’Brien,

32 A. 696, 697-98 (N.J. Sup. Ct. 1895), which Wong Kim Ark quoted, but Benny

referenced domicile because of the facts and question presented and nowhere

implemented a parental domicile requirement. Nor did Wong Kim Ark read it as

mandating a domicile requirement. 169 U.S. at 692. In short, none of Appellants’

authorities can override Wong Kim Ark, which set forth an authoritative holding

about the Citizenship Clause’s scope. And insofar as Appellants turn to the post-

Wong Kim Ark decisions in Chin Bak Kan v. United States, 186 U.S. 193 (1902),

and Kwock Jan Fat v. White, 253 U.S. 454 (1920), they fare no better. Neither case

imposed a domicile requirement under the Citizenship Clause.

      Finally, reading a domicile requirement into the Citizenship Clause would

turn birthright citizenship into a largely subjective test about the parents’ intentions,

which has never been the law. Domicile is based on residence and “the purpose to

make the place of residence one’s home.” Texas v. Florida, 306 U.S. 398, 424 (1939)

(citing Mitchell v. United States, 88 U.S. 350 (1874)). It exists regardless of an



See Cong. Globe, 39th Cong., 1st Sess. 1117. Even worse, the statements by Senator
Wade that Appellants cite were made with respect to draft language regarding
privileges and immunities, not the Citizenship Clause. And even if considered, they
don’t support Appellants. As Senator Wade explained, the law regarding citizenship
at the time excluded only those such as foreign ministers—a situation that “could
hardly be applicable to more than two or three or four persons.” Cong. Globe, 39th
Cong., 1st Sess. 2769.

                                           46
               Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 61 of 82




individuals’ immigration status. See Plyler v. Doe, 457 U.S. 202, 227 n.22 (1982)

(explaining that “illegal entry into the country would not, under traditional criteria,

bar a person from obtaining domicile within a State”) (citing Clement L. Bouvé,

A Treatise on the Laws Governing the Exclusion and Expulsion of Aliens in the

United States 340 (1912)). And as understood at the time, “[i]f it sufficiently

appear[s] that the intention of removing was to make a permanent settlement, or for

an indefinite time, the right of domicil is acquired by a residence even of a few days.”

The Venus, 12 U.S. (8 Cranch) 253, 279 (1814). Thus, if this “domicile” requirement

were actually the law, birthright citizenship would always have turned on the

parents’ intentions, which no case has ever suggested. And such a rule would not

support the Citizenship Stripping Order in any event, because many of those denied

citizenship under the order—such as asylees, refugees, and many undocumented

immigrants—are clearly domiciled here because they intend to stay in the United

States. Appellants’ newfound “domicile” rule of birthright citizenship is baseless.

      d. Departing even further from the established meaning of the Citizenship

Clause, Appellants argue that “if the United States has not consented to someone’s

enduring presence, it follows that it has not consented to making citizens of that

person’s children.” Opening Br. 9. That argument is frivolous. There is no consent

requirement in the plain text of the Citizenship Clause, and surely whether someone

is subject to the United States’ jurisdiction does not depend on “mutual consent.” Id.


                                          47
               Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 62 of 82




at 40; see Legislation Denying Citizenship, 19 Op. O.L.C. at 347 (rebutting “consent

theory” because it would “require repudiation of the language of the Constitution

itself, the clear statements of the Framers’ intent, and the universal understanding of

19th and 20th century courts”). Even if considered on its own terms, the argument

makes no sense, as the district court rightly pointed out. “The fact of the matter is

that the United States has consented to the citizenship of children born on its

territory, through ratification of the Fourteenth Amendment.” ER-12.

      This “consent” argument is also fundamentally at odds with the purpose of

the Fourteenth Amendment. Illegally imported slaves were not legally or

consensually present in the United States, yet there is no question that the Citizenship

Clause extended citizenship to their children. See, e.g., Gabriel J. Chin & Paul

Finkelman, Birthright Citizenship, Slave Trade Legislation, and the Origins of

Federal Immigration Regulation, 54 U.C. Davis L. Rev. 2215, 2250 (2021) (“This

history demonstrates that there were clearly ‘illegal aliens,’ both free migrants

banned under the 1803 law and illegally imported slaves, in the United States before

and during the consideration of the Fourteenth Amendment.”); Gerald L. Neuman,

Back to Dred Scott?, 24 San Diego L. Rev. 485, 497-99 (1987) (detailing the history

of enslaved individuals who were imported illegally and recognizing that the

Fourteenth Amendment was intended to grant citizenship to all native-born




                                          48
               Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 63 of 82




individuals of African descent). Appellants and amici cannot square their arguments

with this undisputed reach of the Fourteenth Amendment.

      Finally, Appellants and certain amici states raise arguments about “birth

tourism” and make derisive statements about immigrants untethered to the record.

Opening Br. 33; Br. of Iowa and 18 States at 1-3, 20-27; Br. of Texas at 5-9. This

resort to nakedly political talking points proves the States’ point. As the Justice

Department previously recognized, “the text and legislative history of the citizenship

clause as well as consistent judicial interpretation make clear that the amendment’s

purpose was to remove the right of citizenship by birth from transitory political

pressures.” Legis. Denying Citizenship, 19 Op. O.L.C. at 347. “The very nature of

our free government makes it completely incongruous to have a rule of law under

which a group of citizens temporarily in office can deprive another group of citizens

of their citizenship,” Afroyim v. Rusk, 387 U.S. 253, 263, 268 (1967), and no amount

of extra-record rhetoric can stand in for good faith constitutional interpretation.

      The district court correctly held that the States are overwhelmingly likely to

succeed on the merits of their Fourteenth Amendment claim.

      3.     The Citizenship Stripping Order independently violates the INA

      The States are also exceedingly likely to prevail on their claim under the INA.

It is a fundamental canon of statutory interpretation that “[w]here Congress employs

a term of art ‘obviously transplanted from another legal source,’ it ‘brings the old



                                          49
               Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 64 of 82




soil with it.” George v. McDonough, 596 U.S. 740, 746 (2022) (citing

Taggart v. Lorenzen, 587 U.S. 554, 560 (2019)); see Lamar, Archer & Cofrin, LLP

v. Appling, 584 U.S. 709, 721-22 (2018) (presuming the enacting Congress is “aware

of the longstanding judicial interpretation of [a] phrase” that it codifies “and

intend[s] for it to retain its established meaning”). And like any statute, the INA must

be “interpret[ed] . . . in accord with the ordinary public meaning of its terms at the

time of its enactment.” Bostock v. Clayton County, 590 U.S. 644, 654 (2020);

League of United Latin Am. Citizens v. Regan, 996 F.3d 673, 691 (9th Cir. 2021).

      Section 1401(a) of the INA faithfully tracks the Citizenship Clause’s

language. It states: “The following shall be nationals and citizens of the United States

at birth:[] a person born in the United States, and subject to the jurisdiction

thereof[.]” 8 U.S.C. § 1401(a). As the INA’s legislative history confirms, that shared

language was intended to codify the Fourteenth Amendment’s protections as

understood at the time of its enactment in 1940 and again in 1952.9 See To Revise

and Codify the Nationality Laws of United States into a Comprehensive Nationality

Code: Hearings Before the Comm. on Immigr. & Naturalization on H.R. 6127

Superseded by H.R. 9980, 76th Cong., 1st Sess. 38 (1940) (Section 201 language



      9
       8 U.S.C. § 1401 was first enacted as Section 201 of the Nationality Act of
1940 and reenacted as Section 301 of the Immigration and Nationality Act of 1952.
See H.R. Rep. No. 82-1365 (1952), as reprinted in 1952 U.S.C.C.A.N. 1653, 1734
(“The bill carries forward substantially those provisions of the Nationality Act of
1940 which prescribe who are citizens by birth.”).

                                          50
                Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 65 of 82




regarding citizenship at birth “is taken of course from the fourteenth amendment to

the Constitution”); id. at 418 (explaining that “[i]t accords with the provision in the

fourteenth amendment to the Constitution” and recognizing that “it is the fact of

birth within the territory and jurisdiction, and not the domicile of the parents” that

determines citizenship). The INA thus incorporates “the cluster of ideas that were

attached” to the Fourteenth Amendment by 1940 and 1952. Morissette v. United

States, 342 U.S. 246, 263 (1952). That “cluster of ideas” is the bright-line grant of

birthright citizenship confirmed in Wong Kim Ark. See H.R. Rep. No. 82-1365,

1952 U.S.C.C.A.N. at 1675-76 (1952 House Report discussing the Citizenship

Clause as interpreted by Wong Kim Ark).

      Appellants acknowledge the linguistic overlap, but they argue that the INA

should also be reinterpreted to include their new tests for who is “subject to the

jurisdiction” of the United States. Opening Br. 41. Yet they nowhere acknowledge

that Congress adopted the Citizenship Clause’s language as understood in 1940 and

1952—not the revisionist view now proposed by the President. See MCI Telecomms.

Corp. v. Am. Tel. & Tel. Co., 512 U.S. 218, 231-32 (1994) (“What we have here, in

reality, is a fundamental revision of the statute . . . . [That] was not the idea Congress

enacted into law in 1934.”). Thus, even if Appellants were correct that the

Citizenship Clause should be reinterpreted (and they are not), it would not matter.




                                           51
               Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 66 of 82




The INA independently sets the bar under which the grant of birthright citizenship

cannot fall, and the Order dives well below that floor.

C.    The Remaining Injunction Factors Decisively Favor the States

      The remaining factors—irreparable harm, the equities, and the public

interest—overwhelmingly supported issuance of a preliminary injunction, as the

district court correctly held. ER-12-13.

      1. Starting with irreparable harm, the district court held that the States “are

likely to suffer irreparable economic harm in the absence of preliminary relief.”

ER-12. That finding is well supported by the factual record (to which only the States

contributed) and is nowhere near an abuse of discretion. The unrebutted record

established that if thousands of babies born each year in the States are denied

citizenship, the States will lose millions of dollars in federal reimbursements for

children who will immediately become ineligible for federal programs, including

Medicaid, CHIP, and Title IV-E foster care. See 1-SER-155-158, 164-167, 263-264,

295-296; 2-SER-306-309. They will lose tens of thousands of dollars annually under

their existing contracts with SSA to process birth data for newborns obtaining SSNs.

1-SER-173-174, 257, 270-271, 276-277. And they will bear substantial financial and

operational burdens to create new systems to determine citizenship of each child

they serve through federal-state programs. 1-SER-156-158, 167-168, 174-175, 179,

262, 269, 297-298; 2-SER-309-311.



                                           52
                Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 67 of 82




      These are precisely the types of harms that are irreparable and support

preliminary injunctive relief. See, e.g., E. Bay Sanctuary Covenant v. Biden,

993 F.3d 640, 677 (9th Cir. 2021) (finding irreparable harm when organizations

“will suffer a significant change in their programs and a concomitant loss of funding

absent a preliminary injunction”); City & County of San Francisco, 981 F.3d at 762

(finding irreparable harm when money damages are unavailable and states “likely

are bearing and will continue to bear heavy financial costs because of withdrawal of

immigrants from federal assistance programs and consequent dependence on state

and local programs”) (citation omitted); see also Ledbetter v. Baldwin, 479 U.S.

1309, 1310 (1986) (Powell, J., in chambers) (harm is irreparable when “[t]he State

will bear the administrative costs of changing its system to comply” and is unlikely

to recover those costs in litigation).

      Appellants speculate that the States could try to recover certain lost

reimbursements (but not all) through vaguely identified administrative avenues for

denied claims under Medicaid and CHIP. Opening Br. 48-49. Their argument is

smoke and mirrors. The States have no means to recover lost federal funds from a

sovereign defendant for thousands of individuals deemed categorically ineligible for

Medicaid, CHIP, Title IV-E, or SSA’s Enumeration at Birth program.

See Idaho v. Coeur d’Alene Tribe, 794 F.3d 1039, 1046 (9th Cir. 2015). Nor do

Appellants rebut the overwhelming evidence that the States will have to expend


                                          53
               Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 68 of 82




significant resources to update and modify systems used to verify citizenship now.

That loss is plainly irreparable, Ledbetter, 479 U.S. at 1310, and the district court

did not abuse its discretion in so concluding.

      2. The district court also acted well within its discretion in concluding that

“the balance of equities and the public interest strongly weigh in favor of entering a

preliminary injunction.” ER-13. These factors could not tip more sharply in favor of

the States.

      Beyond the States’ direct economic losses and harms, detailed above, the

Citizenship Stripping Order deprives children in the States of a foundational

constitutional right and subjects them to harms that span a lifetime—harms that

directly impact the States’ communities. Citizenship confers the “right to full and

equal status in our national community, a right conferring benefits of inestimable

value upon those who possess it.” Fedorenko v. United States, 449 U.S. 490, 522

(1981) (Blackmun, J., concurring). It guarantees the opportunity to participate and

belong in society—to live free from fear of deportation and to vote, serve on a jury,

and travel. See 1-SER-207-208; 2-SER-315-316. It offers the opportunity to achieve

economic, health, and educational potential through the right to work legally and

eligibility for social supports, such as federally backed healthcare benefits, cash and

food assistance during vulnerable times or emergencies, and eligibility for federal

student financial aid. 1-SER-184-189, 214-217, 244-246. In short, citizenship


                                          54
               Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 69 of 82




“confers legal, political, and social membership in the United States, thus creating

paths to mobility.” 1-SER-213, 251-252.

      By purporting to revoke birthright citizenship, the Citizenship Stripping Order

will immediately deny these rights and benefits to more than 150,000 children born

each year in the United States, condemning most to a life without authorized

immigration status and some to statelessness. 1-SER-110, 205-206; 2-SER-312-316.

Instead of the right to full participation and belonging in their home country—the

United States—these children will be forced to live “in the shadow,” under the

constant risk of deportation and unable to obtain work authorization as they

grow up.1-SER-207-208, 219; 2-SER-312-319. They will be less likely to complete

high school or enroll in higher education and will earn less at almost every stage of

their lifetimes than their citizen counterparts. 1-SER-184-188, 214-215. They will

be more likely than their citizen peers to experience disease, depression, anxiety, and

social isolation. 1-SER-217-219. Stated differently, “denying birthright citizenship

to children born in the U.S. to undocumented parents will create a permanent

underclass of people who are excluded from U.S. citizenship and are thus not able

to realize their full potential.” 1-SER-183-184.

      Appellants do not address these extensive harms that will follow if the Order

takes effect—likely because those harms are the point. They instead try to conjure

harm to the Executive Branch by invoking the President’s supposed “broad authority


                                          55
               Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 70 of 82




over and responsibility for immigration matters.”10 Opening Br. 67. That argument

is baseless. This is not a case about “immigration.” It is a case about citizenship

rights that the Fourteenth Amendment and federal statute intentionally and explicitly

placed “beyond the power of any governmental unit to destroy.” See Afroyim,

387 U.S. at 263. Nor do Appellants offer authority remotely holding that the

President has the power they claim. The single-Justice opinion they cite, INS v.

Legalization Assistance Project of Los Angeles County Federation of Labor, 510

U.S. 1301, 1304-06 (1993) (O’Connor, J., in chambers), spoke to the President’s

authority to “take Care that the Laws be faithfully executed” and “supervise the

conduct of the Executive Branch.” It did not recognize a President’s authority to pick

and choose which Americans enjoy the right to citizenship. Id.

      Appellants further complain that the Executive Branch is irreparably injured

by delaying advance preparations for the Citizenship Stripping Order.

Opening Br. 54. Yet as the district court explained, the federal government “has no

legitimate interest in enforcing an Order that is likely unconstitutional and beyond

its authority.” ER-13. In contrast, “the public has an interest in ensuring that the

‘[laws] enacted by [their] representatives are not imperiled by executive fiat.’”


      10
          Certain amici states likewise complain about harm they say they will suffer
if immigration is not reduced. See Br. of Iowa and 18 States at 3; Br. of Texas at 3-
6; Br. of Tennessee at 1. Those arguments are at best policy complaints—not
arguments about the proper scope of the Fourteenth Amendment or whether the
district court abused its discretion in granting the injunction based on the record
presented.

                                         56
               Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 71 of 82




E. Bay Sanctuary Covenant, 993 F.3d at 679 (cleaned up). It will cause Appellants

no harm to refrain from implementing a plainly unlawful Order and to simply

maintain the status quo as it has existed for more than a century.

      The public is not benefitted by returning our Nation to a reprehensible chapter

of American history when Dred Scott excluded Black Americans from citizenship—

an exclusionary view soundly rejected by the people and their representatives

through the Fourteenth Amendment. The Citizenship Stripping Order’s grave

deprivation of rights belies any public interest in its implementation or enforcement.

The balance of equities and public interest accordingly demanded that the district

court protect the status quo and preserve the promise of citizenship as it has long

existed while this case proceeds. See Doe #1 v. Trump, 957 F.3d 1050, 1069

(9th Cir. 2020) (recognizing that “the public interest favors preserving the status

quo” when new federal policy represents a change and will harm plaintiffs and the

public).

D.    The District Court’s Nationwide Injunction Is Necessary to Provide
      Complete Relief

      Appellants’ final challenge is to the nationwide scope of the injunction. They

argue that nationwide injunctions categorically “exceed ‘the power of Article III

courts’” and contradict public policy. Opening Br. 50. Precedent from this Court and

the Supreme Court holds otherwise. The district court did not abuse its discretion in

enjoining the Order nationwide to protect the States and their residents.

                                         57
               Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 72 of 82




      1. “Crafting a preliminary injunction is an exercise of discretion and

judgment, often dependent as much on the equities of a given case as the substance

of the legal issues it presents.” Trump v. Int’l Refugee Assistance Project (IRAP),

582 U.S. 571, 579 (2017). As this Court has explained, equitable relief “is acceptable

where it is ‘necessary to give prevailing parties the relief to which they are

entitled[,]’” E. Bay Sanctuary Covenant, 993 F.3d at 680 (citation omitted), and

“there is ‘no general requirement that an injunction affect only the parties in the

suit[,]’” Hecox, 104 F.4th at 1090 (citation omitted). Thus, when nationwide relief

is necessary to provide complete relief to the parties before it, this Court has

“consistently recognize[d] the authority of district courts to enjoin unlawful policies

on a universal basis.” E. Bay Sanctuary Covenant, 993 F.3d at 681 (quoting E. Bay

Sanctuary Covenant, 932 F.3d at 779); Doe #1, 957 F.3d at 1070 (“[A] more limited

injunction . . . would ‘needlessly complicate agency and individual action in

response to the United States’s changing immigration requirements[.]’”) (citation

omitted).

      Courts, including the Supreme Court and this Court, have thus upheld

nationwide injunctions where necessary to provide complete relief. See IRAP,

582 U.S. at 579, 582 (allowing nationwide injunction against enforcement of

Executive Order section that exceeded presidential authority); Doe #1, 957 F.3d at

1069 (declining to stay nationwide injunction and explaining that “there is no bar”


                                          58
               Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 73 of 82




against such an injunction “when it is appropriate”); Missouri v. Trump, 128 F.4th

979, 997 (8th Cir. 2025) (“A nationwide injunction is no more burdensome on the

federal officials than necessary and is more workable.”). Indeed, such injunctions

have been particularly warranted in circumstances where, as here, the fact that

individuals move between states exposes plaintiffs to irreparable harm and requires

response to a new patchwork of legal rules and federal policies. See E. Bay Sanctuary

Covenant, 993 F.3d at 680-81 (affirming nationwide injunction where plaintiff

organizations would lose clients under a more limited injunction); HIAS, Inc. v.

Trump, 985 F.3d 309, 327 (4th Cir. 2021) (affirming nationwide injunction for

organizations that “place[d] refugees throughout the country”).

      The injunction here fits comfortably within this long line of precedent. As the

district court concluded in light of the unrebutted record, a nationwide injunction is

necessary to provide the States complete relief. ER-14. If the States’ pregnant

residents happen to give birth in any other non-party state, or if individuals from any

of those states move to any of the States, the States will suffer the exact irreparable

injuries to their sovereign and pecuniary interests they would if there were no

injunction at all. Indeed, the States will suffer the same sovereign injuries with

respect to newly minted non-citizens who travel or move to the States. And the States

will be required to overhaul their systems to verify eligibility for Medicaid, CHIP,

and Title IV-E because they must verify the citizenship of every child they serve,


                                          59
                Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 74 of 82




regardless of where they were born. 1-SER-151, 153-158, 167-168, 259-260,

293-298; 2-SER-306-307, 309. Succinctly put, relief cannot be “structured” on a

more “individual basis,” E. Bay Sanctuary Covenant, 993 F.3d at 680, and this case

presents the precise type of “nationwide impact” that warrants nationwide relief,

City & County of San Francisco, 897 F.3d at 1231, 1244-45.

      2. In attacking the district court’s order, Appellants’ boldly claim that “five

Justices[] [have] conclud[ed] that universal injunctions providing relief outside the

parties to the case are likely impermissible.” Opening Br. 51 (citing Labrador v. Poe

ex rel. Poe, 144 S. Ct. 921 (2024)). The concurrences in Labrador do no such thing,

and they certainly do not constitute precedent sufficient to satisfy this Circuit’s “high

standard” of being “clearly irreconcilable” with prior precedent permitting

nationwide injunctions. McBurnie v. RAC Acceptance E., LLC, 95 F.4th 1188, 1193

(9th Cir. 2024).

      Labrador involved two individuals challenging a state law that restricted

minors’ access to gender-affirming care. 144 S. Ct. at 921. The district court enjoined

the law in its entirety, including sections of the law that governed care that the

plaintiffs did not seek to access. Id. at 921-22. The Supreme Court granted a partial

stay pending appeal, allowing the injunction to take effect only “as to the provision

to the plaintiffs of the treatments they sought below[.]” Id. at 921. The scenario in

Labrador is unlike the situation here because nationwide relief is necessary to


                                           60
                Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 75 of 82




provide the States complete relief on the claims they brought. There is no argument

that the district court enjoined sections of the Citizenship Stripping Order not at issue

in the States’ challenge. And of course, the Labrador Court was merely ruling on a

stay application and did not reach any decision on the propriety of nationwide

injunctions generally. Id.

      Nor do the concurrences say what Appellants claim. While Justice Gorsuch,

joined by two other Justices, expressed displeasure with the number of universal

injunctions, he did not conclude that they were “impermissible.” Id. at 926-28.

Indeed, Justice Gorsuch has separately voted at times to permit nationwide

injunctions. E.g., United States v. Texas, 143 S. Ct. 51 (2022). Justice Kavanaugh,

joined by Justice Barrett, was even more limited in his concurrence, which focused

on explaining how the Supreme Court typically resolves emergency stay

applications. 144 S. Ct. at 928. He remarked without taking a position that

“prohibiting nationwide or statewide injunctions may turn out to be the right rule as

a matter of law,” id. at 931, and wrote that he concurred in granting the partial stay

requested only because Idaho was likely to succeed in that particular case, id. at 933

n.4. Appellants read too much into Labrador and offer nothing to support a rule that

would categorically prohibit nationwide injunctions.

      3. Finally, Appellants suggest for the first time (and only in passing) that a

narrower injunction might have sufficed, claiming that the States could obtain


                                           61
               Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 76 of 82




sufficient relief if Appellants were enjoined to treat noncitizens moving to the States

as eligible for federally funded medical and social programs. Opening Br. 52.

The district court did not abuse its discretion in failing to consider this argument for

the obvious reason that Appellants never raised it. See 1-SER-5-8; 2-SER-376-378;

see also 1-SER-19-20, 52-53; 2-SER-403-404. That alone defeats their argument, as

“the district court is not obligated to undertake the task of chiseling from the

government’s across-the-board ban a different policy the government never

identified, endorsed, or defended.” J.D. v. Azar, 925 F.3d 1291, 1336 (D.C. Cir.

2019). Even if considered, though, Appellants’ belated proposal would solve nothing

with respect to the States’ sovereign injuries. And with respect to the healthcare and

social service programs the States operate, Appellants’ vague proposal would be

unworkable and “needlessly complicate[d],” Doe #1, 957 F.3d at 1070, at a

minimum, because it would require the States to violate federal law, which requires

them to verify the citizenship of each person that they serve under programs like

Medicaid, CHIP, and Title IV-E. 1-SER-151, 153-158, 167-168, 259-2560, 293-

298; 2-SER-306-307, 309.

      In sum, the Citizenship Stripping Order’s attempt to unilaterally amend the

Fourteenth Amendment and discard a federal statute necessitates an injunction that

preserves the guarantee of birthright citizenship as it has long existed: A uniform

right that applies nationwide and is beyond the President’s power to destroy.


                                          62
         Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 77 of 82




                        VII. CONCLUSION

The Court should affirm the district court in full.




                                   63
       Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 78 of 82




RESPECTFULLY SUBMITTED this 4th day of April 2025.

                              NICHOLAS W. BROWN
                               Attorney General of Washington

                              s/ Lane Polozola
                              COLLEEN M. MELODY, WSBA 42275
                                Civil Rights Division Chief
                              LANE POLOZOLA, WSBA 50138
                              DANIEL J. JEON, WSBA 58087
                              ALYSON DIMMITT GNAM, WSBA 48143
                                Assistant Attorneys General
                              Washington Attorney General’s Office
                              800 Fifth Avenue, Suite 2000
                              Seattle, WA 98104-3188
                              206-464-7744
                              colleen.melody@atg.wa.gov
                              lane.polozola@atg.wa.gov
                              daniel.jeon@atg.wa.gov
                              alyson.dimmittgnam@atg.wa.gov

                              NOAH G. PURCELL, WSBA 43492
                                Solicitor General
                              CRISTINA SEPE, WSBA 53609
                              MARSHA CHIEN, WSBA 47020
                                Deputy Solicitors General
                              1125 Washington Street SE
                              PO Box 40100
                              Olympia, WA 98504-0100
                              360-753-6200
                              noah.purcell@atg.wa.gov
                              cristina.sepe@atg.wa.gov
                              marsha.chien@atg.wa.gov
                              Attorneys for State of Washington


                              KRIS MAYES
                               Attorney General of Arizona
                              JOSHUA D. BENDOR
                               Solicitor General

                                 64
Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 79 of 82




                       LUCI D. DAVIS
                         Senior Litigation Counsel
                       Arizona Attorney General’s Office
                       2005 N. Central Ave.
                       Phoenix, AZ 85004
                       Telephone: 602-542-3333
                       Joshua.Bendor@azag.gov
                       Luci.Davis@azag.gov
                       Attorneys for State of Arizona


                       KWAME RAOUL
                         Attorney General of Illinois
                       JANE ELINOR NOTZ
                         Solicitor General
                       ALEX HEMMER
                         Deputy Solicitor General
                       Illinois Attorney General’s Office
                       115 South LaSalle St.
                       Chicago, IL 60603
                       Telephone: 312-814-5526
                       Jane.Notz@ilag.gov
                       Alex.Hemmer@ilag.gov
                       Attorneys for State of Illinois


                       DAN RAYFIELD
                        Attorney General of Oregon
                       BENJAMIN GUTMAN
                        Solicitor General
                       MICHAEL A. CASPER
                        Senior Assistant Attorney General
                       Oregon Department of Justice
                       1162 Court St. NE
                       Salem, OR 97301
                       Telephone: 503-378-4402
                       Michael.Casper@doj.oregon.gov
                       Attorneys for State of Oregon




                          65
              Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 80 of 82




                     STATEMENT OF RELATED CASES

      Pursuant to Ninth Circuit Rule 28-2.6, the Plaintiff-Appellee States state that

they know of one related case pending in this Court: Washington v. Trump,

No. 25-674 (9th Cir. filed Jan. 31, 2025) (appealing the denial of a motion to

intervene).

      DATED this 4th day of April 2025.

                                      s/ Lane Polozola
                                      LANE POLOZOLA




                                         66
               Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 81 of 82




                         CERTIFICATE OF SERVICE

      I hereby certify that on April 4, 2025, I electronically filed the foregoing

documents with the Clerk of the Court by using the Appellate Case Management

System. I further certify that the participants in the case are ACMS users, and that

service will be accomplished by using the ACMS system.

      DATED this 4th day of April 2025.

                                      s/ Lane Polozola
                                      LANE POLOZOLA




                                         67
                 Case: 25-807, 04/04/2025, DktEntry: 80.1, Page 82 of 82




                     UNITED STATES COURT OF APPEALS
                          FOR THE NINTH CIRCUIT

                    Form 8. Certificate of Compliance for Briefs

      Instructions for this form: http://www.ca9.uscourts.gov/forms/form08instructions.pdf

9th Cir. Case Number(s) 25-807

       I am the attorney or self-represented party.
                           15,374
       This brief contains _______________ words, including __________ words

manually counted in any visual images, and excluding the items exempted by FRAP

32(f). The brief’s type size and typeface comply with FRAP 32(a)(5) and (6).

       I certify that this brief (select only one):

☐ complies with the word limit of Cir. R. 32-1.

☐ is a cross-appeal brief and complies with the word limit of Cir. R. 28.1-1.

☐ is an amicus brief and complies with the word limit of FRAP 29(a)(5), Cir. R.
  29-2(c)(2), or Cir. R. 29-2(c)(3).

☐ is for a death penalty case and complies with the word limit of Cir. R. 32-4.

☐ complies with the longer length limit permitted by Cir. R. 32-2(b) because (select
 only one):
    ☐ it is a joint brief submitted by separately represented parties.
    ☐■ a party or parties are filing a single brief in response to multiple briefs.
    ☐ a party or parties are filing a single brief in response to a longer joint brief.

☐ complies with the length limit designated by court order dated                                               .

☐ is accompanied by a motion to file a longer brief pursuant to Cir. R. 32-2(a).

             s/ Lane Polozola                                                   April 4, 2025
Signature                                                               Date
(use “s/[typed name]” to sign electronically-filed documents)
                   Feedback or questions about this form? Email us at forms@ca9.uscourts.gov
Form 8                                                                                         Rev. 12/01/22
